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                               Period 33
                        Monitoring Report

                                    of
The Accountability Agent and Monitoring and Technical Assistance Team


                               In the Case of


                            Kenny A. v. Kemp


                              State of Georgia


                              December 2022




                      State of Georgia
   Office of State Budget and Management (OSBM) with
    Department of Health and Human Services (DHHS)


                               Period 30
                        Monitoring Report

                                    of
The Accountability Agent and Monitoring and Technical Assistance Team


                               In the Case of
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                                            I.        INTRODUCTION
This Period 33 report is the tenth monitoring report in which the Accountability Agent and the
Monitoring and Technical Assistance Team (MTAT) report on the outcomes delineated in the
Modified Consent Decree and Exit Plan (Modified Exit Plan) that was filed in Federal District
Court in December 2016. 1 In addition to this monitoring report, MTAT will issue its Seventh
                                0F




Brief on the Infrastructure Standards in Spring 2023, in accordance with the Stipulated Order
Amending the Modified Consent Decree and Exit Plan (Stipulated Order) filed with the Federal
District Court in December 2017.

In this report, MTAT’s obligation is to report specifically on the measurable requirements
articulated in Sections IV, V, and VI of the Modified Exit Plan that relate to activity in DeKalb
and Fulton counties from January 1 through June 30, 2022. In addition to discussing the Ongoing
and Attained Outcome Measures, MTAT continues to review the use of congregate care, monitor
the use of hotels, offices, and other temporary placements for children in foster care, and report
caseloads for case managers and supervisors. As discussed in previous reports, MTAT continues
to address the impact of COVID-19 on the system, the children and youth under its care, and the
families and caregivers with whom it engages. This will be an ongoing exploration as we
develop a deeper understanding of the impact and as the agency returns to some of its pre-
COVID practices and adopts new practices from lessons learned during the pandemic.

MTAT’s approach to monitoring serves as an accountability mechanism for the Court, the
Plaintiffs, and the public. It also serves as an opportunity to assist the Division of Family and
Children Services (DFCS) in establishing data-driven decision-making processes and continuous
quality improvement (CQI). The goal is to create a strong CQI process that will remain in place
after the state satisfies the terms of the Modified Exit Plan and will no longer be under federal
court oversight.

The MTAT reports on the same Modified Exit Plan standards and outcome measures
approximately every six months, using a combination of qualitative and quantitative data. 2 In                     1F




addition to the basic and consistent set of metrics as agreed upon in the Modified Exit Plan, the
MTAT conducts a deep, quality-focused analysis on a handful of Infrastructure Standards at
regular intervals. Data gathering for these can include interviews with stakeholders, focus
groups, surveys, observations of processes, targeted case reviews, and reviews of Child and
Family Service Reviews (CFSRs) findings.


1 Modified Consent Decree and Exit Plan, Kenny A. v. Nathan Deal, Civil Action NO. 1:02-CV-1686-TWT. Go to:

https://www.childrensrights.org/wp-content/uploads/2014/08/2016.11.09-745-Exhibit-A-Modified-Consent-Decree-
and-Exit-Plan.pdf
2 Pursuant to the Modified Consent Decree, both the Ongoing Outcome Measures and Attained Outcome Measures

have undergone substantial revision to reflect, when possible, the principles of best practices in measurement. Best
practices principles include: 1) a clear statement of the analytic question with particular attention to identifying the risk
population or the denominator associated with a particular inquiry; 2) use of entry cohorts and prospective measures
to characterize systems dynamics and change in outcomes; 3) attention to the sources of variation in system
outcomes (e.g. variation over time, among children, or in places); 4) understanding variation to track change
accurately; 5) assessing expected change in the appropriate period of performance or window of time; 6) matching
the analytic question to the appropriate source data; and 7) using well-understood and organized data resources that
are designed to support asking and answering analytic questions.


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MTAT’s intention in this effort is to enable Parties’ understanding in several key factors
associated with each of the Infrastructure Standards:

   1. The expectations for practice and the extent to which these processes are occurring

   2. The capacity within the system to meet these expectations

   3. The extent to which these processes are occurring with sufficient consistency and quality

Moreover, this enables MTAT to focus on emerging issues to mitigate a reactive approach to
monitoring. The Infrastructure Standards are key practices and strategies that DFCS identified
as their theory of change. If done with fidelity and quality, the standards should lead to
improvement in the outcome measures assessed in this monitoring report.

Period 33 Dynamics and Highlights
Throughout Period 33, 1,088 children and youth spent time in Region 14’s foster care system:

   •    660 children and youth in DeKalb County and 428 in Fulton County.

           o This is 40 fewer children and youth than during Period 32. DeKalb County had 38
             fewer children in its care, and Fulton County had 2 fewer children in its care.

   •    Among the 1,088 children, 220 children entered care on or after January 1, 2022, and 185
        children exited care by the end of the period on June 30, 2022.

While fewer children and youth spent time in foster care, the mounting challenges for finding
placements for youth with high complex needs, coupled with high staff turnover rates, reached a
breaking point in May 2022. By June 2022, 25 Child Protective Services staff were terminated
for jeopardizing child safety by violating agency policy and protocols through the organization
of a “sick out” to protest unsafe and overwhelming work conditions.
Placement and Workforce Crises Converge
The lack of willing and appropriate placements for youth with complex needs is a long-standing
issue that has vacillated between reliance upon the use of hotels and the use of offices for
placements. During the first quarter of 2016, MTAT verified that 78 children stayed in hotels for
a total of 681 nights. The average length of stay was 8.7 nights [minimum: 1 night; maximum:
73 nights; mode: 1 night (19 instances); median: 4 nights]. The cost associated with these stays:
hotels, $53,645; behavior aides, $333,690; and other, $14,285. With this increased reliance on
hotels, it is important to highlight that the parties agreed to the following language in the
Modified Consent Decree and Exit Plan filed with the court in December 2016:
        Section IV.B.1.
        c. No child shall spend more than 23 hours in a county DFCS office. Any child who
        spends time in a county DFCS office between the hours of 8:00 p.m. and 8:00 a.m. shall
        be reported to the MTAT. The intent of this provision is to prevent the use of DFCS
        offices as an overnight placement for children, as children with urgent placements needs
        require a safe bed in a home-like environment.


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        d. The parties agree that the use of hotels, motels, or similar non-child welfare overnight
        commercial enterprises is not appropriate for class members’ placements. On July 1,
        2016, State Defendants submitted, and the Accountability Agent approved, a plan to
        phase out the use of this practice, such that by December 31, 2016, the State will reduce
        the number of hotel nights by 50% (fourth quarter of calendar year 2016, as compared to
        the second quarter of calendar year 2016), and by June 30, 2017, no child will be placed
        in a hotel, motel, or similar non child welfare placement.
Leading up to the June 30, 2017, deadline for eliminating the use of hotels, from January 1 –
June 30, 2017 (Period 23), MTAT reported that 83 children and youth spent time in Region 14
DFCS offices after hours while awaiting placements. Over the next few years, DFCS leadership
put forth efforts to improve the array of placement options for children and youth, including:
   •    Meetings with MTAT and other state leaders regarding performance-based contracting;
   •    Contracting with Chapin Hall to provide an analysis of current provider performance;
   •    Meetings with providers and establishing per diem rates for different levels of care;
   •    Contracting with MAAC to establish 20 emergency placements, with 10 dedicated to
        Region 14 youth;
   •    Recruiting foster families for teens;
   •    Unsuccessful draft proposal submitted to establish therapeutic foster care;
   •    Working with judges to mitigate depriving youth for whom parents refused to pick them
        up from youth detention centers; and
   •    Enhancing services for relatives and fictive kin willing to provide placements for teens.
Over the past five years, while some of these initiatives provided greater insights and some relief
for youth without placements, there were no long-term changes implemented. Moreover, changes
in state leadership and priorities, and a lack of evaluation and continuous quality improvement
prevented any promising strategies to eliminating the use of hotels and offices from being fully
implemented and sustained. Moreover, despite the overall decrease in children entering care
during COVID-19 starting in March 2020, the number of children and youth staying in offices
increased, as did the average length of stay in the offices.
Table 1: Office Stay Comparison Over Last Four Monitoring Periods
                           Period 30              Period 31             Period 32        Period 33
                       July 1-December          January 1-June       July 1-December   January 1-June
                           31, 2019                30, 2021              31, 2021         30, 2022
 # Of youth with
 office stays                  14                    32                    49               62

 # Of instances of
 office stays                  25                    47                    79               103




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    Avg. length of
    stay                      2.8 days              7.4 days             11.3 days            11.5 days

    # Of stays over 5
    days                          1                    16                    40                   58


During the 24 months of escalating office stays captured in office stay logs, monitoring reports,
and the chart above, leaders and staff within the Region continued trying to work with the state
office, private providers, foster homes, and relatives in search of appropriate placements. The
number of behavior aides previously available when providers were monitoring youth in hotels
(prior to the agreement to end this practice in June 2017) decreased dramatically, necessitating
an increasing number of staff to work overtime and stay in the offices overnight with youth. In
Fall 2019, MTAT recommended that the state office reach out to providers to develop
specialized contracts to provide services and placements for youth without placements.
Simultaneously, regional and county leaders and staff also conceptualized and developed a plan
to open and operate a wellness center to screen, assess, and use trauma-informed practices and
professionals to find suitable placements for youth within a 24-hour period. During Measure +
Leaders meetings in December 2021 and March 2022, plans for the wellness center were
discussed with state leaders who participated in the design process. State leaders followed up by
requesting information about building specifications and locations. However, no further
communication, approvals, or denials from the state office have been provided.3 During focus
groups with Region 14 staff in Fall 2021 and Spring 2022, many expressed frustrations with the
mounting pressures, increasing turnover and high caseloads, the overnight responsibilities with
youth in offices, and the seeming lack of response or assistance from state leaders in helping to
alleviate the challenges.
Unfortunately, the strain on staff climaxed in May 2022 when 25 child protective services staff
were accused of jeopardizing child safety by organizing a “sick out” to reportedly protest long
hours and unsafe conditions associated with spending the night in offices with youth. They were
all placed on administrative leave pending an investigation by the Georgia Office of the
Inspector General. The investigators concluded that the staff had engaged in an “organized sick
out” and they were all fired.
As reported in the Period 32 Monitoring Report, both Fulton and DeKalb counties were already
operating at a staff deficit, with only 64 percent (27 of 42) of CPS workers assigned the agreed
upon caseload standard of 12 or fewer families to respond to or investigate reports of
maltreatment as of December 31, 2021. MTAT also reported that neither county was able to hire
enough new staff to offset the 109 staff who left the agency during Period 32 (104 of whom
resigned). Thus, during Period 33, the loss of 25 Fulton child protective services staff at one time
exacerbated the already heavy burden shouldered by the staff who remained.




3
 During a meeting of the parties in December 2022, Commissioner Broce shared that work was happening behind
the scenes to secure funding and work with the Georgia Department of Administrative Services (DOAS) regarding
waiver of the procurement process. MTAT will follow up and provide updates in the next monitoring report.


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News of the crisis spread quickly, and in June 2022, Fox 5 Atlanta News reported that some
teens were staying in county offices for months at a time and that the police were called to Fulton
County DFCS offices to address challenges with teen 65 times. 4        2F




In focus groups and interviews with MTAT, staff reported that these nearly daily calls to the
police were due to drug use, vandalism, fights, and assaults on staff. Atlanta News First CBS46
conducted a three-month investigation during which they confirmed these reports. In addition to
also finding children living in Fulton County offices for weeks to months at a time, they also
reported “instances of drugs, children running away, stealing, fighting workers and each other,
conditions which seemingly stem from practice with little oversight.” 5        3F




In a June 2022 interview with the Atlanta Journal Constitution, Commissioner Candice Broce
acknowledged that “housing the children in a hotel or office means they’re not able to go to
school consistently, they’re away from their peers, they’re not forming those relationships, plus,
it causes tremendous strain on staff.” 6 4F




The state reached out to two providers under specialized agreements that were intended to
prevent the providers from “rejecting” youth due to past trauma-induced behaviors. However, the
provider designated to accept youth from Region 14 continued denying certain youth, expelling
youth from its program for minor infractions, and would not accommodate trans youth due to its
religious affiliation.
The state then began offering higher per diem and $5,000 grants to providers and caretakers
willing to accept children without placements. The state also contracted with a temporary
staffing agency to provide staff to provider agencies.
To mitigate the heightened staffing shortages, volunteers from the state office, the quality
assurance unit, regional field placement specialists, specialized mentor supervisors, and staff
from other counties (including DeKalb) took on CPS cases in Fulton County to assist with
investigations and family support cases. While the timeliness of closing these cases has
decreased significantly during Period 33 (72.6 percent and 78.4 percent, respectively, compared
to 90.2 percent and 91.8 percent, respectively in Period 32), the state and counties are to be
commended for meeting a high percentage of timely initial contacts under these extraordinary
circumstances. The state also instituted higher per diems, and additional financial and staff
resource supports for private providers willing to accept youth without placements. This dynamic
is further discussed and illustrated in Section IV: Caseload Requirements of this monitoring
report.

COVID-19: Impact, changes, and efforts in Region 14
As of the writing of this report, DeKalb and Fulton County DFCS staff have returned to the
offices and ended remote work policies that were in place throughout the pandemic. While the
statewide Georgia Supreme Court Judicial Emergency Orders expired on June 30, 2021, local
judicial districts had the discretion to maintain emergency orders and practices. Both DeKalb and

4
  https://www.fox5atlanta.com/news/georgia-dfcs-offices-used-to-house-at-risk-teens
5
  https://www.atlantanewsfirst.com/2022/08/15/children-under-fulton-dfacs-care-housed-offices-creating-
dangerous-conditions/
6
  https://www.ajc.com/politics/foster-children-housed-in-child-welfare-offices-officials-work-to-end-
practice/YCMAHV7YFFFFPDPTJEHQOYPFGI/


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Fulton County Juvenile Courts continue safety practices and a combination of in-person and
virtual court hearings.

Statewide, DFCS returned to its policy of requiring one in-person visit per month for children in
foster care and their caregivers. Under the Kenny A Consent Decree, Region 14 must complete
two monthly visits. Given the ongoing spread of COVID-19, and Georgia hosting among the
highest rates of influenza in the country,7 state policy requires staff in Region 14 to conduct two
monthly visits: one in-person and an additional visit that can be in-person or virtual.

With widespread testing and vaccinations available, children entering foster care no longer face
major delays in placement due to questions about their COVID status. However, recruitment of
more placements and enhancing relative supports should be a high priority for the Region
moving forward.

As this major transformation to a post-COVID child welfare system takes place, it is imperative
that state, regional, and county DFCS leaders work closely with human resources and child
welfare stakeholders to examine lessons learned during the pandemic. While the shift to remote
work, virtual meetings and service delivery, and virtual court hearings happened quickly in
March 2020, the modified practices and policies may have had both positive and negative
unintended consequences. In Region 14, staff and stakeholders have reported anecdotally that
there is a perceived increase in parental participation in court hearings. Others note that while
they missed the interaction with co-workers during the height of the pandemic, working from
home enabled some to improve work-life balance. At the same time, there have been some
reports that virtual services, such as therapy, did not work well for families. Unfortunately, there
was also some abuse of the remote working policies, as at least one staff member was terminated
for having another full-time job while still reportedly working for DFCS.

Nationally, studies are emerging that examine this period of time for the child welfare workforce.
In the article, Transformative lessons learned from COVID-19 to reimagine child welfare work,
published in July 2022 in the Journal of Public Child Welfare 8, the authors describe three themes
                                                                       5F




for recommended permanent child welfare system changes gleaned from their research:

     1. Flexible workplace (work from home and office hybrid);

     2. Enhanced use of technology (continued virtual meetings and technical support for
        remote access); and

     3. Supporting worker well-being (safety, addressing secondary trauma, and work-life
        balance).

The authors also note that while responding to a worldwide pandemic, complex systems like
child welfare can implement major changes successfully and swiftly.



7
 https://www.cdc.gov/flu/weekly/usmap.htm
8
 Amy S. He, Julie A. Cederbaum & Robin Leake (2022) Transformative lessons learned from COVID-19 to reimagine
child welfare work, Journal of Public Child Welfare, DOI: 10.1080/15548732.2022.2101175.


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In an issue brief published by the Administration for Children & Families in May 2021 9, six      6F




child welfare agencies participating in the Fathers and Continuous Learning in Child Welfare
cohort examined practices before and during the pandemic as they sought to improve
engagement with fathers and paternal relatives. While the rapid changes were fraught with
connectivity and technical challenges, they also bred creative problem solving. Some agencies
used Title IV-E Waiver Funds to purchase tablets for families needing technology to participate
in virtual meetings; others simplified by using conference calls and group text feed discussions.
The virtual platforms for meetings and classes removed the traditional barriers to participation,
such as lack of transportation, the need for child care, and scheduling conflicts. Overall, the
cohort reported the following improvements in their engagement with fathers and paternal
relatives:

    1. Higher attendance by fathers;

    2. Lower cancellation rates by fathers;

    3. Improved father – social worker relationships; and

    4. Greater involvement in cases by paternal relative caregivers.

While shifting back to pre-pandemic policies and practices may seem the easiest path to take,
those systems that take the time to evaluate the impact of pandemic changes could improve
engagement with children and families, better stabilize the workforce, and facilitate better
outcomes. MTAT highly recommends that GA DFCS work with stakeholders to evaluate
COVID-19 practices to determine which if any should continue.

Leadership Changes
During Period 33, Commissioner for the Department of Human Services and DFCS Division
Director Candice Broce continued making changes to the state office leadership. Some of these
changes were the result of retirements and resignations.

Long-time DFCS Finance Director, Clifford O’Connor, retired after nearly two decades of
service. Melissa Barwick, former Deputy Director of Governor Kemp’s Office of Health
Strategy and Coordination, has been hired into this vital role. In addition to this change, the
General Counsel and Chief Ethics Officer, Stephen Harris, and Deputy General Counsel, Judy
Holdaway and George Dean, all resigned from the agency. Regina Quick was hired to replace
Stephen Haris and Dana Carroll was promoted to fill Judy Holdaway’s position.

As reported in the Period 32 Monitoring Report, the Fulton County Director resigned her
position effective mid-June 2022. After an unsuccessful search for her replacement, the position
has been reposted with a higher salary floor, and Regional Director Kristin Toliver continues
assuming the responsibilities for both positions.


9
 Abendroth, Eliza, Jennifer Bellamy, Diletta Mittone, Roseana Bess, and Matthew Stagner (2021). Opening Up
Possibilities: Father Engagement Lessons During the COVID-19 Public Health Emergency, OPRE Report # 2021-82,
Washington, DC: Office of Planning, Research, and Evaluation, Administration for Children and Families, U.S.
Department of Health and Human Services.


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Despite the system dynamics and challenges during Period 33, the counties were able to meet the
threshold requirements for all five visitation measures, the rate of maltreatment in care continued
decreasing, and the rate of timely commencement of maltreatment in care investigations
improved as well. Although re-entry is an annual measure, the Period 33 midpoint indicates that
they are progressing even closer to the requirement. For several other measures, such as
caseworker continuity and meeting the identified needs of children in care, the lack of staffing
continues to impact the Region’s ability to improve performance and outcomes. More details are
provided in Section III Period 33 Major Findings and Results.
The next section provides contextual data and information that tracks Region 14’s performance
under the Consent Decree over time.

                                  II.     CONTEXT DATA
Region 14 has made significant efforts aimed at improving the experience of children and their
families in the face of many daunting challenges, including leadership changes, the pandemic,
and workforce and placement crises. It is very easy to get preoccupied or focused on the acute
situation, the crises that often drive the immediate work. The context section of the Monitoring
and Technical Assistance Team Monitoring Reports provides the opportunity to step back and
look at performance and the experience of children and families over time.

An insightful framework for understanding acute concerns in the child welfare system is looking
deeper at the number of children flowing in and out of the system, as it can dictate caseloads,
workloads, placement availability and stability, and achievement of permanency for children and
families. The charts below show the number of entries, exits, and children in care in each county
in Region 14 for the last six years.

       Chart 1: Entries, Exits and In Care Population for DeKalb County




The number of children exiting foster care in DeKalb County has exceeded those entering since
mid-2018 which has significantly contributed to the steady decrease in the number of children in
foster care. Conversely, the number of exits began exceeding entries in Fulton County in 2020,
coinciding with the pandemic and significantly contributed to a decrease in the number of
children in care. Of concern in Fulton County, though, is the recent spike in foster care entries.
The pattern of decline seen in DeKalb County is replaced in Fulton with a large uptick in entries


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and the in-care count. The Covid pandemic reduced entries and exits across the country.
However, evidence is lacking as to whether the reductions will be temporary (as it seems in
Fulton) or lasting (as in DeKalb). As time passes, these trends will be more open to
interpretation.

           Chart 2: Entries, Exits and In Care Population for Fulton County




Looking further at these three metrics of entries, exits, and in care populations, further patterns
emerge, especially when comparing DeKalb to Fulton counties.

Entries
Looking deeper at why children are entering care provides insights into practice and the
experience of children and families in Region 14. The reasons why children have come into state
custody change over time because of changing policies, practices, and statutes and in response to
the larger environment. In both counties, across all time points, most removals are for the reason
of neglect. AFCARS files, which are the source of these data, include twelve potential removal
reasons. The top six in each county are reported here. The most common reasons for removal in
DeKalb are neglect, physical abuse, and abandonment, compared to Fulton, where the top
removal reasons are neglect, abandonment, and a parent’s inability to cope.




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            Chart 3: DeKalb County Reasons for Removal Over Time




These removal reasons are different than is common across the state of Georgia, where the top
three reasons are neglect, parental drug use, and inadequate housing. It is not typical for such a
high portion of removals to be attributed to abandonment.10 Children in care for the reason of
abandonment will be explored more later in this report.

        Chart 4: Fulton County Reasons for Removal FFY 2022




10
  County leadership and judges are exploring whether there are inconsistencies between counties use of the code,
or other local practices that may be impacting the differences.


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Exits
Looking deeper at the ways in which children in Region 14 are further exiting care, other
patterns emerge. The percentage of children who exited to reunification in both counties
decreased substantially over the last five years, while other exit patterns are specific to one
county or the other. The number that has exited to guardianship has steadily increased. The
increase in use of guardianship as an exit pathway may be attributed to a previous DFCS director
being wary of using guardianship as an exit pathway over other options, which may have
naturally increased when he left the division. It is concerning that nearly as many of the children
exiting custody to guardianship in DeKalb in the last six-month data reporting period exited to
reunification. This is concerning because it may suggest that less effort is being made to work
with birth families to regain custody. This pattern did not hold in Fulton, where guardianships
have been more stable.

           Chart 5. DeKalb Counties Discharge Reasons




           Chart 6. Fulton Counties Discharge Reasons




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At first glance, the large increase in the number of youth aging out is concerning. But
emancipations were postponed during the pandemic; if the count over the last two periods is
averaged, the rate is consistent with past performance. Also concerning is the steady increase in
the percent of children who age out or experience some other non-permanent exit from foster
care, representing 17 percent of exits from March 2022-September 2022. This warrants further
scrutiny moving forward.

Another metric of exits that speaks to the volume of children in custody is short stayers,
identified as those that exit custody in under 30 days, and raises the question as to whether those
children needed to be removed from their home in the first place. Fulton County has historically
had a large proportion of short stayers in their exit population, though there has been some
improvement in the last few years. The chart below shows all exits from custody in the last five
years, and the percent of those exits that were in less than 30 days.

       Chart 7: Percent of Children Discharging in Under 30 Days




Looking at entries and exits above shows the flow of children in and out of care, while looking at
the in-care population can show impacts on the system, including caseload and workload,
placement needs, and efforts to permanency, particularly when looking at how long the people in
custody have been in out of home care. Most children and youth in care at a single point in time
have been in care for about two years. The median time in care in 2022 is 1-2 years. About 40
percent of children have been in care for more than two years. This is true in both counties.

Thirty percent of Fulton exits in less than 30 days in the first six months of the federal fiscal year
2018, which decreased until 2021 with a low of 9 percent, and a slight increase in 2022 with 12
percent of exits in Fulton being characterized as short stayers. At the same time, the overall
number of exits in Fulton County decreased substantially over time, from a high of 219 in 2018
to 86 in the most recent AFCARS submission. DeKalb county has also experienced a decrease in
the overall number of exits, though it has leveled off in the last two years. DeKalb has also seen
the percentage of short stayers increase in the previous year, from 1 percent of exits to 7 percent
most recently. This should continue to be monitored, and the division should continue to seek
opportunities to understand this short stayer population and if there are opportunities to prevent


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their entry and meet their needs in their own home. In both counties, the proportion of children in
custody for four or more years in the point in time outlook has increased overall in the last seven
years, though nearly half of children in custody overtime have been in custody for four months to
two years. Understanding the dynamics of why children are entering custody and consequently
exiting when they do, can help shed light on potential opportunities for improvement, either
through eliminating the need to enter custody in the first place or achieving reunification in a
timely manner. MTAT will continue exploring data with DFCS and stakeholders to develop
hypothesis and further analyze exits to permanency.

Cross-Cutting Observation
In discussing child removals, the increasing use of abandonment as a child placement reason was
noted as an area of observation.. Outcomes for abandoned children are particularly concerning at
every point of child welfare system involvement. Abandoned children are more likely to be
placed in institutional care, and then they are the most likely to age out without permanency.
This removal reason might offer a flag that a potential service mix is recommended to increase
the odds of permanency for children flagged for this reason. Older children who are removed for
the reason of abandonment likely have high need for behavioral health services. Even though a
child’s biological parent abandoned them, it is important to recognize that there are other
relatives in the lives of abandoned children who couldserving as placement resources, informal
supports, and discharge destinations. Moreover, some children coded as “abandoned” may be the
result of parental frustration with an inability to access appropriate mental / behavioral health
services on their own. “Abandoned” children were reunified almost half of the time.

                Table 2: Exit Pathways by Removal Reasons
                                             All other    Abandonment
                                              removal       removal
                                              reasons        reason
                   Adopted                      30%           25%
                   Placed with relative         55%           40%
                   Placed in group home
                                                12%           23%
                   or institution
                   Reunified                    56%           48%
                   Aged Out                     10%           22%

In both counties, the proportion of children in custody for four or more years in the point in time
outlook has increased overall in the last seven years, though nearly half of children in custody
over time have been in custody for four months to two years.
The next section explores the major findings from the Period 33 data and outcomes.




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          III.   PERIOD 33 MAJOR FINDINGS AND RESULTS
This section provides major findings regarding outcomes for children, youth, and families
involved with Region 14 of Georgia DFCS during Period 33, January 1, 2022 – June 30, 2022. It
also provides a list for the performance of each county and the region for each of the
requirements under the Modified Exit Plan. This includes a status update on the requirements,
specifically whether the task or outcome has been attained or is at risk of being re-designated as
an ongoing task or outcome. Period 33 includes six-month snapshots for annual measures. While
this provides some insights into performance, the Region still has six months before results can
be fully analyzed. The chart below reflects the status of outcome measures, including those
annual measures that are on the watch list for possible movement out of attained to ongoing
(yellow) and those six-month measures that are also on the watch list or are being recommended
by MTAT to move back to the ongoing category (red).


                                           Attained
    Outcome 2           Outcome 4           Outcome 5              Outcome 7        Outcome 8

    Outcome 9          Outcome 10          Outcome 11              Outcome 13       Outcome 14

   Outcome15           Outcome 16          Outcome 18              Outcome 19       Outcome 20

   Outcome 22          Outcome 23          Outcome 24              Outcome 25       Outcome 26

   Outcome 28

                                            Ongoing
    Outcome 1           Outcome 3           Outcome 6              Outcome 12      Outcome 21a

  Outcome 21b          Outcome 21c        Outcome 21d              Outcome 27

As stated in the Modified Consent Decree and Exit Plan Section IX.E.1.b., “[A]n Ongoing
Outcome Measure is automatically re-designated as an Attained Outcome Measure for the next
reporting period, if in the previous three consecutive reporting periods (totaling18 months) . . .”
[or three years for annual measures] State Defendants improved performance in the first period
(as compared to the prior period) then met or exceeded the measure for the next two periods. An
Attained Outcome Measure “will be re-designated as an Ongoing Outcome Measure only if both
of the following conditions occur: (l) the Accountability Agent finds that the decline in
performance is notable, meaning that it was caused by a deterioration in State Defendants'
practice and process that is expected to impact the safety, permanency, or well-being of class
members in subsequent periods, and (2) State Defendants do not meet the required threshold for
that outcome measure in the next reporting period.” Modified Consent Decree and Exit Plan
IX.E.2.b. For annual measures, this determination will take place after Period 34.



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Major Findings
Permanency for Children and Youth in Foster Care
Ensuring that children who enter foster care achieve timely permanency is a major goal and
responsibility for child welfare agencies across the country.

In 2016, when parties to the Kenny A Consent Decree renegotiated a Modified Consent Decree
and Exit Plan, they agreed to adopt the current federal requirements and methodology to
determine progress toward improving rates and stability of permanency in Region 14. The
current federal methodology uses an entry cohort of children in care less than 12 months (OM
23), and an annual point in time analysis of two cohorts of children: those in care 12- 23 months
(OM 6), and those children and youth in care over 24 months (OM 7).While using a point-in-
time methodology is not as precise as an entry cohort analysis, the parties agreed that aligning
Kenny A requirements with the existing federal mandates would prevent dual reporting and
potentially conflicting analysis. It also allows the agency to compare performance across regions
throughout the state.

In addition to the rates upon which children and youth exit foster care, it is important to ensure
that once they exit, they do not return. Thus, re-entry rates are also evaluated on an annual basis
utilizing the current federal requirements and methodology.

Period 33 marks the mid-point for these annual measures and is therefore provided for
informational purposes only.

1. There is still time for the Region to surpass the threshold requirements for
   all three permanency outcome measures.
The three permanency annual measures are calculated each year for the period ending in
December. The six-month snapshot presented in this monitoring report only provides an
indication of performance during the first half of the year. Thus, the Region still has an
opportunity to obtain permanency for more children in each cohort prior to the end of the year.
The table below provides a mid-year comparison over the course of four years, 2019, 2020,
2021, and 2022.

 Outcome Measure                        Period 27       Period 29      Period 31       Period 33
                                        Midyear         Midyear        Midyear         Midyear
 OM 6 – Exits for children in care
 12 – 23 months.                          22.4%           17.8%          21.9%           20.1%
 (Threshold 43.6%)
 OM 7 – Exits for children in care
 over 24 months.                           29%            16.6%          20.7%           17.4%
 (Threshold 30.3%)
 OM 23 – Exits for children in
 care 12 months or less.                   37%             37%            32%             29%
 (Threshold 40.5%)



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To demonstrate that the above data points are not indicative of what the annual results may be,
the lowest mid-year performance for OM 6 was 17.8 percent. Yet, the Region was able to rally
and surpass the threshold with an annual performance that year of 45 percent. Likewise, for OM
7, the lowest mid-year performance was 16.6 percent, yet the annual results that year also
surpassed the required threshold at 37.4 percent. With focus and attention, the Region has an
opportunity to finish strong on each of these annual measures.
2. Region 14 continues improving re-entry rates, as it inches closer to meeting
   the annual threshold than the past seven years.
The Region continues moving closer to reaching the threshold requirement (less than 8.3
percent) for the percent of children re-entering foster care within 12 months of exiting care. The
chart below illustrates a comparison of midyear performance over the past four years

         Outcome Measure                  Period 27       Period 29    Period 31       Period 33
                                          Midyear         Midyear      Midyear         Midyear
 OM 3 – No more than 8.3% of
 children exiting care will re-enter        19.8%           13.5%        11.9%           8.6%
 care within 12 months.

Unlike the three permanency measures in which the Region has six additional months to
significantly improve performance, the agreed-upon measure for annual re-entry rates does not
allow for great fluctuation. In fact, for Periods 27 and 31 depicted in the chart above, the
subsequent annual results were the same. However, for Period 29, the midyear snapshot was 13.5
percent, and the annual measure reported in Period 30 improved to 13.1 percent. With a
threshold of no more than 8.3 percent, the Region is within striking distance from a midyear
snapshot of 8.6 percent.

Other Consent Decree Measures that Support Permanency

There are several processes included in the consent decree that also have a direct impact on
achieving permanency for children in foster care. The processes with the most direct impact
involve the juvenile court system, its ability to hold timely hearings, and the production of valid
court orders that document the reasons for removal, the reasonable efforts of DFCS, and the
action steps needed to achieve permanency. Also important is consistent, regularly scheduled
visitations and the ability of DFCS to limit the number of changes in a child’s assigned case
worker. This mitigates trauma associated with being in foster care and prevents unnecessary
delays in a child’s case due to hand-offs between workers and caregivers.

3. Juvenile courts in Fulton and DeKalb counties continued meeting and
   exceeding the threshold requirements for six-month court reviews (OM 19)
   and twelfth-month permanency reviews (OM 20). However timely
   finalizations of adoptions and guardianships (OM 8) fell below the
   threshold requirement.




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As previously discussed in Section I, the juvenile courts of DeKalb and Fulton Counties
continued successfully operating with virtual hearings and specially set in-person or hybrid
hearings. During Period 33, the six-month case plan review hearings and the twelfth-month
permanency hearings were all completed as required. Timely finalizations of adoptions and
guardianships dropped to 76 percent, just under the threshold requirement of 80 percent.

Both juvenile courts are to be commended for completing the six-month court reviews and
holding timely twelfth-month permanency hearings for 100 percent of eligible cases. The
finalizations of adoptions and guardianships within twelve months of a Termination of Parental
Rights (TPR) decreased from 88 percent in Period 32 to 76 percent in Period 33. For this
measure, DeKalb County successfully and timely processed 85 percent of adoptions and
guardianships. In comparison, Fulton County successfully and timely processed only 61 percent
of these cases (a decline from 84 percent during Period 32). Some of the decline in performance
can be attributed to COVID (a judge and attorney contracted COVID, thus delaying
proceedings). Therefore, while this type of decline would normally place OM 8 on the “watch”
list, MTAT is recommending that it remains in its current status until after analyzing Period 34.

4. After exceeding the requirement for continuity of case managers (OM 12)
   for three consecutive periods, the region continued its Period 32 decline
   dropping further below the required threshold.
In accordance with the negotiated Modified Consent Decree and Exit Plan, the state agreed that
each child should have no more than two assigned case managers while in foster care. The goal
is that continuity of case managers would occur for at least 90 percent of children in care. Period
31 marked the third consecutive period that the Region met or exceeded this threshold (93
percent for Period 31), triggering a recommendation by MTAT that this measure be moved to the
attained category. However, during Period 32, the region fell below the threshold to 83 percent, a
significant decline in performance. MTAT noted in its Period 32 report that this was especially
troubling given the numerous exceptions that are not considered “changes” when analyzing the
number of case managers assigned to each child. 11 During Period 33, case manager continuity
                                                         7F




declined even further to 65 percent.

As discussed in Section I, in May 2022, 25 Fulton CPS staff, including case managers,
supervisors, and an administrator, were placed on administrative leave pending an investigation
into allegations jeopardizing child safety by organizing a “sick out” Some staff reported that it
was not an orchestrated “sick out”, however, they also expressed frustration with the lack of
placements for children resulting in a need for staff to stay in the offices overnight until
placements could be secured. As MTAT reported in the Sixth Brief on the Infrastructure
Standards, staff also reported that the situation had become dangerous, and the police department
was called to the offices on a regular basis. However, following an investigation by the Office of
Inspector General (OIG), the 25 staff were dismissed from the agency. As reported in the Period
32 Monitoring Report, the Fulton CPS staff was already operating at a deficit:


11
 Exceptions built into OM 12 for analysis of case worker continuity include: Cases transferred to an adoption case
manager; Case managers who have died, been terminated, promoted, or transferred to another county; and Case
managers who have covered a case during another case manager’s sick or maternity leave


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       For [Fulton]CPS case managers only 64 % (27 of 42) were assigned 12 or fewer families
       to respond to or investigate reports of maltreatment as of December 31, 2021. An
       additional 23 cases were assigned to case managers on leave or supervisors, awaiting
       assignment, which is an increase compared to 11 cases during Period 31.

Thus, the mass vacancies resulting from the terminations further exacerbated the already
burgeoning caseloads. State staff, county leaders, field program assistants, and staff from other
counties (including DeKalb) were deployed to assist Fulton County to ensure that investigations
were completed and response times were met.

As discussed in the Caseload section, CPS was not the only area of practice with high turnover
rates. The Region is attempting to mitigate this by hiring more hiring managers, holding frequent
interviews, and working with the state training unit to shorten the length of time in training
before new workers can report to the county and begin taking cases. For caseworker continuity,
while terminations are an exception for the negotiated measure, the region continues to decline in
performance, reaching a new low of 65 percent.

Researchers have correlated high caseworker turnover with poor outcomes for children in foster
care. According to a Casey Family Programs report12:

       High workloads can have a domino effect: staff burnout and stress lead to staff attrition
       that can result in decreased worker-family contact and failure to meet professional
       standards for investigation response and completion; case plan completion and updates,
       and service provision; as well as increased time to permanency, rates of maltreatment
       recurrence, and the number of foster care placements and re-entries into foster care.

Thus, with the continued decline in performance, MTAT is recommending that OM 12
Continuity of Case Managers move from the “watch list” to the “Ongoing” category of outcome
measures.

5. While the court systems have established protocols to improve the
   percentage of children with all applicable language in court orders
   necessary to be eligible for federal funding reimbursement (OM 27), this is
   the sixth consecutive reporting period that the counties did not meet the
   required 95 percent threshold.
As the DeKalb and Fulton County court systems move toward post-pandemic operations, judges
continue to work with stakeholders so every child in a dependency case has timely executed and
filed valid court orders. As part of those protocols, DFCS continues to implement its
responsibilities by uploading the court orders into each child’s electronic record in Georgia
SHINES. The court order serves as a blueprint for permanency, delineating the reasons for
removal and the actions or behavioral changes needed for reunification or other permanency
options. Thus, it is a vital factor for achieving timely permanency. The federal government

12
  https://www.casey.org/turnover-costs-and-retention-
strategies/#:~:text=High%20caseloads%20and%20workloads&text=Cost%20of%20processing%20changes%20in,an
d%20decreased%20chances%20of%20reunification


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requires valid court orders that include specific findings regarding custody and reasonable efforts
for states to qualify for reimbursements to cover the costs of foster care.

During Period 33, the case file review revealed that only 71 percent of children had all applicable
language in court orders necessary to assess qualification for federal funding under Title IV-E of
the Social Security Act. The Consent Decree threshold established by the parties is 95 percent,
and this is the sixth consecutive reporting period falling below this requirement. In Fulton 94
percent of cases had the applicable language in the court orders, however, Dekalb’s performance
was only 55 percent. While the case file review is a statistically significant sample utilized by
MTAT for its analysis, DFCS regularly evaluates IV-E eligibility for all children in its custody
(penetration rate). Below is a graph of the statewide penetration rates from 2010 to present.

Chart 8: State IV-E Penetration Rates


                                              State IV-E Penetration Rates
70.0%



        58.1%
60.0%        57.2% 57.7%

                           53.3%

                                   49.2%
50.0%
                                           47.8% 46.6%
                                                     43.5%
                                                             41.5%
                                                                  40.1% 38.3%
40.0%
                                                                                35.6% 35.1% 35.1%35.1%
                                                                                                         34.7%34.6% 34.5%


30.0%



20.0%



10.0%



 0.0%
        SFY SFY SFY SFY SFY SFY SFY SFY SFY SFY SFY SFY Jan- Feb- Mar- Apr- May- Jun-
         11 12 13 14 15 16 17 18 19 20 21 22 22 22 22 22 22 22

             Source: COSTAR through SFY 2010, SHINES SFY 2011 Beginning Jan 2011 SSI Elig Children
                            included in IV-E rate per Federal Policy. (As of 08-26-22)




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The statewide penetration rate continued to decrease slightly during Period 33 to an average of
34.85 percent compared to the SFY 22 average of 35.6 percent. The Revenue Maximization Unit
has the opportunity to institute new practices that may help shift this trend and increase the
penetration rate for Georgia. MTAT made recommendations to improve the penetration rate in
the Third Brief on the Infrastructure Standards. The Seventh Brief on the Infrastructure
Standards will once again revisit these recommendations and explore other strategies with the
new DFCS Finance Director.

6. Despite continued challenges with staff turnover and shortages, the
   counties surpassed threshold requirements for all five visitation outcome
   measures.
Visitation is a vital component of achieving permanency and ensuring the well-being of children
in foster care. During Period 32, the rates of visitation decreased in every category except
monthly private in-placement visits between case managers and children (OM 26). In fact, two of
the outcomes declined below their respective thresholds. MTAT concluded that the workforce
crisis prevented the counties’ ability to coordinate required visits and placed OM 13 (worker-
child visits) and OM 14 (parent-child visitation) on the “watch list.”

Fortunately, despite continued workforce challenges during Period 33, both counties surpassed
the visitation threshold requirements for all five outcomes. Thus, MTAT is recommending that
OM 13 and OM 14 be removed from the “watch list” and that all visitation-related outcomes
remain in the attained category.

Wellbeing of Children and Youth in Foster Care

OM 21 addresses DFCS’ ability to identify and meet the medical, dental, mental health,
educational, and developmental needs of children in care. As the substitute guardian for children
when they enter foster care, it is imperative that the state meet each child’s individualized needs.
In fact, separating a child from his or her parent for abuse or neglect and then neglecting to meet
the child’s needs undermines the mission of the child welfare system. Screenings and
assessments are completed for each child when they enter care and periodically through well-
child visits in accordance with the Early Periodic Screening, Diagnostic, and Treatment (EPSDT)
schedule outlined by Medicaid. It is then up to the case manager to coordinate follow-up for
needs identified during these screenings. With the high rates of case manager turnover, the
follow-up is often lacking and is again evident in the data analyzed during Period 33.

7. The Region continued struggling to meet identified health, dental, and
   mental health needs for children in foster care.
Since the pandemic, the Region's performance in meeting the health needs of youth in care has
been a mixed bag across all the health metrics. During Period 32, the Region met 88 percent of
medical health needs but declined to only 58 percent (7 out of 12) in Period 33. However, dental
needs went from 50 percent in Period 32 to 80 percent (8 out of 10) in Period 33. The Region's
performance in meeting educational needs dropped slightly from 88 percent (4 out of 5) in
Period 32 to 80 percent in Period 33. Of note, the region continues to struggle to meet the mental


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health needs of youth in care. The Region's performance decreased appreciably from 57 percent
in Period 32 to only 29 percent in Period 33. It should be noted that Outcome Measure 21 is
captured through a case file review of a sample of cases open during the reporting period. The
number of children identified with needs decreased significantly during Covid and have not since
rebounded. MTAT plans to explore the root of this issue with case reviewers in Period 34. In
addition, the region’s performance may be indicative of the staffing challenges that began
heightening in Period 32 and reached crisis levels in Period 33, especially in Fulton County.
Thus, MTAT anticipates that performance under OM 21 will continue fluctuating. Moreover, as
the universe of children with identified needs continues to decrease, missing any follow-up
greatly impacts the performance measured by percentage. At the same time, with fewer children
identified with needs, there should also be an increased opportunity to meet all the needs. Thus,
MTAT is recommending that OM 21, medical and educational, transition back to the ongoing
category.

The state reports the following enhancements have occurred or are in the works that they believe
will improve their ability to meet the needs of the children in foster care:

   •    There is a new team of Medicaid attorneys, two paralegals, and a veteran case worker to
        appeal adverse healthcare decisions by Amerigroup;

   •    Reprocurements by DCH for managed care Medicaid; and

   •    Conversion of $425 million from TANF to SSBG to spend on services and treatment for
        youth in care.

8. The rate of maltreatment in care (OM 4) continued decreasing below the
   maximum threshold, and the counties improved performance on initiating
   timely investigations (OM 1) for alleged maltreatment in care cases.
Since 2016, the rate of maltreatment in care decreased and then, in 2019, began steadily
increasing, finally surpassing the 8.50 victims per 100,000 days maximum threshold. However,
during Period 31, the rate significantly declined to 5.16, well below the maximum, and continued
declining to the rate of 3.93 during Period 32.

   • Period 27 (January-June 2019) – 3.45
   • Period 28 (July – December 2019) – 7.28
   • Period 29 (January-June 2020) – 6.64
   • Period 30 (July-December 2020) – 9.65
   • Period 31 (January-June 2021) – 5.16
   • Period 32 (July – December 2021) – 3.93
   • Period 33 (January – June 2022) – 3.66

Moreover, the rate of Recurrence of Maltreatment (Section VI.G.1 of the Modified Exit Plan and
Consent Decree) decreased from 2.26 percent in Period 32 to 1.56 percent in Period 33.




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During Period 32, the state was not able to meet the threshold for initiating timely investigations
for maltreatment in care investigations, declining to 82.1 percent. Outcome Measure 1 requires
that at least 95 percent of all investigations of reports of abuse or neglect of foster children shall
be commenced, including timely face-to-face private contact with the alleged victim within 24
hours of receipt of the report, in accordance with Section 2106 of the Social Services Manual.
During Period 33, the state rebounded to timely initiate investigations in 93.7 percent of the
alleged maltreatment in care13. However, this is still short of the threshold, and MTAT is
therefore recommending that OM 1 be moved from the “watch” list to the ongoing category.

9. Region 14 continued meeting the threshold of 98 percent for placements in
   full approval status (OM 18), however, the lack of placements for children
   with complex needs reached crisis levels.
Under the Modified Consent Decree and Exit Plan, the parties agreed that at least 98 percent of
all foster placements serving class member children shall be in full approval or licensure status.
The approval and licensure process enables DFCS to ensure caregivers are knowledgeable about
policies, regulations, safety measures, and trauma-informed care for children in its custody. This
is an attained measure. Ninety-eight percent of placements were in full approval status at the end
of Period 33 (down from 98.6 percent in Period 32).However, there continues to be a need for
deep and focused attention on the array of placement options for children and youth with high
complex needs.




13
  MTAT wanted to note one of the investigations that did not meet the threshold involved a case where the report
came in on the day custody was returned to the parent, for an incident that occurred weeks prior while the child
was in care. The parent was hesitant to give access to the child who had just been returned from out of home care
where the alleged incident occurred, and therefore response time was not met.


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 Outcome 18 - Placements in Full Approval Status

 Placement         Number of        Number of             Overall         Capacity of        Capacity of
 Type              Placements       Placements            Capacity of     Placements         Placements in
                   with a Class     with a Class          Placement       with a Class       Full Approval
                   Member in        Member in             Settings        Member in          Status as a
                   Care on          Care on               with a Class    Care on            Percentage of
                   06/30/2022       06/30/2022 that       Member in       06/30/2022 that    Overall
                                    were in Full          Care on         were in Full       Placement
                                    Approval              06/30/2022      Approval           Capacity
                                    Status                                Status

 Relative
 Placement         112              110                   259             253                97.7%
 DFCS -
 supervised
 Foster Home       79               79                    203             203                100%
 Provider -
 supervised
 Foster Home       262              244                   803             746                92.9%
 Child Caring
 Institution       50               50                    1366            1366               100%
 Total             503              483                   2631            2568               97.6%
 Change from
 Period 32         -9               -20                   +398            +367               -1%
 Of the 112 total Relative homes, 2 were Unapproved. This left a total of 110 homes, of which all were
 Approved.
 Of the 79 DFCS FH's, 0 was over capacity, which leaves the total 79 approved.
 Of the 262 total CPA FH's, 18 were unapproved for various reasons
 Of the 50 CCI's, 0 were Suspended, and 0 were Inactive and Closed, which left a total of 50 Full Active.


The Region 14 Resource Development Unit reports a continued focus on recruiting more homes
for teens, developing better support for homes currently taking teens, and increasing receiving
homes and kinship partnership and adoptive homes. The unit believes that these three areas still
represent the biggest placement needs. During Period 33, 29 new families were approved,
including nine homes specifically for teens (three kinship homes approved included teens, and
six traditional partnership and adoptive homes approved will accept teens). This is less than half
the number of homes for teens from the last review period and only four fewer homes overall.

During Period 33, 29 homes also closed. The Resource Development Unit reported the following
from exit interviews:

   •    14 of the closures were kinship homes, 12 of which closed due to guardianship or
        adoption.



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   •    Of the remaining closures, 15 were partnership homes (up seven from the previous
        period), and two were adoptive families.

   •    No homes closed due to substantiated CPS claims

   •    One kinship home and one partnership home were closed due to policy violations.

   •    Six partnership homes and one adoptive home closed for personal reasons.

   •    Four partnership families moved out of the region, one retired, one passed away, and one
        closed due to not taking placements.

   •    One partnership home and one adoptive home closed after finalizing adoptions.

The Resource Development Unit has started hosting more in-person recruitment, training, and
retention activities for resource families. By opening 29 homes and closing 29, the Region did
not increase its overall number of potential family placements for children entering care.

During Period 33, the number of children without placements and sleeping in county offices
reached crisis levels, necessitating an emergency approach. This included increasing the per
diem rates, offering a $5,000 grant for providers accepting youth with high complex needs, and
frequent staffing meetings that included state, regional, and county staff and leadership.
(Although it was originally reported that the grants would be available for CPAs as well as
CCI’s, MTAT was unable to confirm any instances of grants to individual CPA or DFCS foster
homes).

The Region quickly transitioned from children sleeping in the offices and once again began
placing children in hotels until placements could be secured. (For an in-depth analysis, see the
Sixth Brief on the Infrastructure Standards). For the first several weeks after the transition, the
weekly number of children in hotel rooms fluctuated between zero and six. However, each
month, the average number continues to increase and is now consistently in the range of sixe to
eight children per week. The state officediscontinued its $5,000 grant initiative, however it has
now been reauthorized. State staff continue collecting data to analyze how the grants were
utilized and whether they improved services for those children without placements.

The state office also reports that private provider staffing was also identified as an impediment to
providing placements for children during the crisis. The state took the unusual step of paying a
staffing company to provide staff for private providers. Several providers participated in the
initiative, and the staffing company allowed providers to hire the temp staff full-time if it was a
good fit. The program was slated to end in November 2022, however it too has been extended.

Given the historic fluctuation between utilizing hotels and offices as temporary placements for
children, it is imperative that the state thoroughly evaluate the effectiveness of its initiatives to
date to secure placements for children and youth with high complex needs. Those initiatives that
demonstrate promising results should continue to be implemented with fidelity. In addition,
MTAT highly recommends working with stakeholders and the courts to divert some of the
extensive financial resources and services currently being provided to acute and congregate



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settings to parents, relatives, and fictive kin. The state office and regional weekly consultations
should continue in order to ensure that children do not linger in hotels. Eventually the state can
end its reliance on these inappropriate non-child welfare placement settings.

For a complete listing of Period 33 performance for all measures required in the Modified
Consent Decree and Exit plan, see the below tables.

This report also has three appendices. Appendix A is a Measures Grid that identifies each
measurable outcome, practice standard, or performance measure required under the Modified
Consent Decree and Exit Plan and describes the method for producing the metric. A technical
document, Detailed Outcome Measures for Period 32, provides the numerator and denominator
for each metric displayed and includes additional explanation or data that support the
interpretation of the outcome metric under the Modified Consent Decree and Exit Plan.

Appendix B contains a glossary of common terms that are relevant to Georgia.

Table 3: Period 33 Ongoing Modified Exit Plan Requirements
     Ongoing Outcome Measures                                 Period 32     Period 33     Period 33     Period 33
                                                             Performance   Performance   Performance   Performance
                                                              Region 14       DeKalb        Fulton      Region 14
     Outcome 1: Commencement of CPS
     Investigations Concerning Foster Children:
     At least 95% of all investigations of reports of
     abuse or neglect of foster children shall be
     commenced, including timely face-to-face                   89%           100%          84.8%        93.7%
     private contact with the alleged victim, in
     accordance with Section 2106 of the Social
     Services Manual, within 24 hours of receipt of
     the report.

     Outcome 3: Re-entry into Care: Of all children
     who enter foster care in a 12-month period who
     were discharged within 12 months from foster
     care to reunification (including aftercare), living
     with a relative, or guardianship no more than              11.9%          7.1%         10.4%        8.6%14
     8.3% shall have re-entered care within 12
     months from the date of discharge. Children
     who were in foster care for less than eight days
     are not counted in this measure.

     Outcome 6: At least 43.6% of all children in
     foster care on the first day of a 12-month period
     who had been in foster care (in that episode)              42%           20.9%         18.2%        20.1%15
     between 12 and 23 months shall be discharged
     from foster care to permanency within 12

14
     Period 33 data reflects the first six months of the year and not the entire outcome.
15
     Period 33 data reflects the first six months of the year and not the entire outcome.


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     Ongoing Outcome Measures                                  Period 32        Period 33      Period 33     Period 33
                                                              Performance      Performance    Performance   Performance
                                                               Region 14         DeKalb          Fulton      Region 14
     months of the first day of the period.
     Permanency, for the purposes of this measure
     includes discharges from foster care to
     reunification with the child’s parents or primary
     caregiver, living with a relative, guardianship, or
     adoption.

     Outcome 17: Education: At least 56% of
     children discharged from foster care at age 18
                                                                    58%
     or older shall have graduated from high school
     or earned a GED.

     Outcome 21: Health and Educational Needs:
     Of children in care at a point in time at the end
     of the reporting period, according to the service
     needs documented in the child’s most recent
     case plan: 16
                8F




     Outcome 21b: At least 92% shall not have any
                                                                    50%           100%            60%           80%
     unaddressed dental needs

     Outcome 21c: At least 92% shall not have any
                                                                    57%           50%             0%            29%
     unaddressed mental health needs



Table 4: Period 33 Attained Outcome Measures
     Attained Outcome Measures                         Period 32             Period 33        Period 33      Period 33
                                                      Performance           Performance      Performance    Performance
                                                           Region 14          DeKalb           Fulton        Region 14

     Outcome 2: Completion of CPS
     Investigations Concerning Foster
     Children: At least 95% of all investigations
     of reported abuse or neglect of foster
                                                             100%              100%             100%           100%
     children shall be completed, in
     accordance with Section 2106 of the
     Social Services Manual, within 45 days of
     receipt of the report.

     Outcome 4: Maltreatment in Care: Of all                 3.93              0.96             8.32           3.66
     children in foster care during the reporting




16
     All health and educational needs data are very limited due to COVID-19, so numbers are very skewed.


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     Attained Outcome Measures                          Period 32        Period 33     Period 33     Period 33
                                                       Performance      Performance   Performance   Performance
                                                        Region 14         DeKalb        Fulton       Region 14

     period, the rate of victimization shall be no
     more than 8.50 victims per 100,000 days.

     Outcome 5: Search for Relatives: At least
     95% of all foster children entering care
     shall have had a diligent search for
                                                          100%              90%          100%          95%
     parents and relatives undertaken and
     documented within 60 days of entering
     foster care.

     Outcome 7: At least 30.3% of all children
     in foster care on the first day of a 12-
     month period who had been in foster care
     (in that episode) for 24 months or more
     shall be discharged to permanency within
     12 months of the first day of the period.            38.0%            22.8%         8.3%         17.4%17
     Permanency, for the purposes of this
     measure includes discharges from foster
     care to reunification with the child’s
     parents or primary caregiver, living with a
     relative, guardianship, or adoption.

     Outcome 8: Adoption/Guardianship
     Finalization: For all children whose
     parental rights are terminated or released
     during the reporting period (and any
                                                           88%              85%          61%          76% 18
     appeals completed), at least 80% will
                                                                                                           9F




     have their adoptions or guardianships
     finalized within 12 months of final
     termination or release of parental rights

     Outcome 9: Permanency Efforts (15/22):
     At least 95% of all foster children who
     reached the point of being in custody for
     15 of the prior 22 months shall have had
     either (a) a petition for the termination of
                                                           96%              94%          99%           96%
     parental rights filed as to both parents or
     legal caregivers as applicable, or (b)
     documented compelling reasons in the
     child’s case record why termination of
     parental rights should not be filed.



17
   Period 33 data reflects the first six months of the year and not the entire outcome.
18
   In Fulton County, a judge and an attorney contracted COVID, thus delaying the finalization hearings. Thus, MTAT
is not recommending that this outcome measure go on the watch list.


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 Attained Outcome Measures                            Period 32        Period 33     Period 33      Period 33
                                                     Performance      Performance   Performance    Performance
                                                      Region 14         DeKalb        Fulton        Region 14

 Outcome 10: Sibling Placement: At least
 80% of all children who entered foster
 care during the reporting period along with
 one or more siblings shall be placed with
 all of their siblings, subject to the following
 exceptions:
 (a) doing so is harmful to one or more of
 the siblings, (b) one or more of the siblings          100%             100%          100%           100%
 has exceptional needs that can only be
 met in a specialized program or facility, (c)
 the size of the sibling group makes such
 placement impractical notwithstanding
 diligent efforts to place the group together;
 or (d) the siblings are placed with
 relatives.

 Outcome 11: Multiple Placement Moves:
 The rate of placement moves in foster
                                                         3.13             2.27            3.81        2.83
 care shall be no more than 3.67 moves
 per 1,000 days in foster care.

 Outcome 12: Caseworker Continuity: At
 least 90% of all children in custody at a
 point in time during the reporting period
 shall have had two or fewer DFCS
 placement case managers during the prior
 12 months in custody. This measure shall
 not apply to cases that are transferred to              83%              61%          71%            65%
 an adoption case manager; case
 managers who have died, been
 terminated, promoted, or transferred to
 another county; or case managers who
 have covered a case during another case
 manager’s sick or maternity leave

 Outcome 13: Visitation (Worker-Child): At
 least 96.25% of the total minimum number
 of one in-placement visit per month and
 one additional private visit per month
 between case managers and children                     95.9%            97.8%        97.4%          97.6%
 during the reporting period shall have
 taken place. Visits in excess of this
 required minimum of one in-placement
 and one private visit per month shall be




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 Attained Outcome Measures                          Period 32        Period 33     Period 33     Period 33
                                                   Performance      Performance   Performance   Performance
                                                    Region 14         DeKalb        Fulton       Region 14

 excluded when calculating this
 percentage.

 Outcome 14: Visitation (Parent-Child): At
 least 85% of the children with a goal of
 reunification shall have had appropriate              80%             85.6%        86.4%         85.9%
 visitation with their parents to progress
 toward reunification.

 Outcome 15: Visitation (Worker-
 Caregiver): DFCS placement case
 managers shall visit each child’s foster
 parent, group care setting, or other
 caregiver setting at least one time each
 month. At least 95% of the total minimum
 number of required monthly visits by                  97%             95.3%        96.9%         95.9%
 placement case managers to caregivers
 during the reporting period shall have
 taken place. Visits to any caregiver with
 respect to the same child in excess of the
 required one visit per month shall be
 excluded when calculating this percentage

 Outcome 16: Visitation (Between
 Siblings): Children who have one or more
 siblings in custody with whom they are not
 placed shall be provided a visit with their
 siblings at least one time each month,
 unless the visit is harmful to one or more
 of the siblings, the sibling is placed out of
 state in compliance with ICPC, or the
 distance between the children’s
                                                       92%             95.3%        96.7%         95.7%
 placements is more than 50 miles and the
 child is placed with a relative. At least 90%
 of the total minimum number of required
 monthly sibling group visits shall have
 taken place during the reporting period.
 Visits among siblings in excess of the
 required one visit per month shall be
 excluded when calculating this
 percentage.

 Outcome 18: Placements Not in Full
 Approval Status: At least 98% of all foster          98.6%                                        98%
 placements serving class member
 children shall be in full approval and/or



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 Attained Outcome Measures                         Period 32        Period 33     Period 33     Period 33
                                                  Performance      Performance   Performance   Performance
                                                   Region 14         DeKalb        Fulton       Region 14

 licensure status. In computing this
 percentage, each placement shall be
 weighted by the approved and/or licensed
 capacity of that placement.

 Outcome 19: Six-Month Case Plan
 Review: At least 95% of foster children in
 custody for six months or more shall have
 either had their six-month case plan
 review completed by the Juvenile Court
 within six months of their prior case plan
                                                      95%             100%          100%          100%
 review, or DFCS shall have submitted the
 child’s six-month case plan to the Juvenile
 Court and filed a motion requesting a six-
 month case plan review within 45 days of
 the expiration of the six-month period
 following the last review.

 Outcome 20: Permanency Hearing: At
 least 95% of foster children in custody for
 12 or more months shall have either had a
 permanency hearing held by the Juvenile
 Court within 12 months of the time the
 child entered foster care or had his or her
 last permanency hearing, or DFCS shall              100%             100%          100%          100%
 have submitted the documents required
 by the Juvenile Court for and requested a
 permanency hearing within 45 days of the
 expiration of the 12-month period following
 the time the child entered foster care or
 had his or her last permanency hearing.

 Outcome 21a: At least 92% shall not
                                                      88%              43%          80%           58%
 have any unaddressed medical needs

 Outcome 21d: At least 92% shall not
 have any unaddressed                                 88%             100%          50%           80%
 education/development needs.

 Outcome 22: Corporal Punishment: At
 least 98% of all foster homes will not have
 an incident of corporal punishment (any              99%                                         100%
 physical punishment of a child that inflicts
 pain) within the previous 12 months.




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     Attained Outcome Measures                         Period 32        Period 33      Period 33         Period 33
                                                      Performance      Performance    Performance       Performance
                                                       Region 14         DeKalb             Fulton       Region 14

     Outcome 23: Timely Discharge to
     Permanency: Of all children who enter
     foster care in a 12-month period, at least
     40.5% shall be discharged to permanency
     within 12 months of entering foster care.
                                                         35.0%            20.5%             39.9%         29.0%19
     Permanency, for the purposes of this
     measure, includes reunification with the
     child’s parents or primary caregivers,
     living with a relative, guardianship, or
     adoption.

     Outcome 24: Adoption Disruptions: No
     more than 5% of adoptions finalized
     during the reporting period shall disrupt            0%               0%                0%             0%
     within the 12 months subsequent to the
     reporting period.

     Outcome 25: Placement Within County:
     At least 90% of all children at a point in
     time during the reporting period shall be
     placed in the county from which they were
     removed or within a 50-mile radius of the
     home from which they were removed. This
     measure is subject to the following
     exceptions: a) the child’s needs are so
     exceptional that they cannot be met by a
                                                          96%                                              96%
     family or facility meeting these
     geographical restrictions, b) the child is
     placed through the ICPC consistent with
     its terms, c) the child is appropriately
     placed with relatives, or d) the child is in
     an adoptive placement with a prospective
     adoptive family pursuant to an appropriate
     placement agreement, but before the
     entry of the adoption decree by the court.

     Outcome 26: Visitation (Worker-Child): At
     least 96.25% of the total minimum number
     of monthly private, in-placement visits
     between case managers and children                 97.44%           97.90%             97.73%        97.84%
     during the reporting period shall have
     taken place. Visits in excess of the
     required one private visit per month shall



19
     Period 33 data reflects the first six months of the year and not the entire outcome.


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 Attained Outcome Measures                         Period 32        Period 33     Period 33     Period 33
                                                  Performance      Performance   Performance   Performance
                                                   Region 14         DeKalb        Fulton       Region 14

 be excluded when calculating this
 percentage.

 Outcome 27: Court Orders: At least 95%
 of foster children in custody at a point in
 time during the reporting period shall have
 all applicable language in court orders              75%              55%          94%           71%
 necessary to assess qualification for
 federal funding under Title IV-E of the
 Social Security Act.

 Outcome 28: Capacity Limits: No more
 than 10% of all foster home placements
 serving class member children at any time
 during the reporting period shall exceed
 the following capacity limits: a) no
 placement shall result in more than three
 foster children in a foster home, or a total
 of six children in the home, including the
 foster family’s biological and/or adopted            2.0%                                        0.6%
 children, without the written approval of
 the County Director, and b) no placement
 will result in more than three children
 under the age of three in a foster home.
 The only exception to these capacity limits
 shall be the placement of a sibling group
 in a foster home with no other children in
 the home.

 Other Consent Decree Requirements
 Visitation in First Week of New Placement
 (VI.G.1) Recurrence of Maltreatment.                2.26%             0.9%        2.29%         1.56%
 (VI.G.2) Number of children who were
 victims of a second substantiated
                                                     2.93%            2.12%        2.88%         2.58%
 investigation within 12 months of FSS
 case.




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                     IV     CASELOAD REQUIREMENTS
For the purpose of this report, this section is focused solely on the caseload standards and
supervisory ratios included in the Modified Consent Decree and Exit Plan Section V.1
           • No CPS case manager shall have more than 12 cases.
           • No ongoing case manager shall have more than 17 cases.
           • No placement case manager shall have more than 15 cases.
           • No adoption case manager shall have more than 16 cases.
           • No specialized case manager shall have more than 12 cases.
           • No supervisor shall supervise more than five case managers at any one time in
           Fulton or DeKalb Counties.

For Period 33, of the 58 case managers in Fulton on June 30, 2022, 42 (72 percent) met the
designated caps. Of note, only 5 out of 14 (36 percent) of Specialized Case Managers and 14 out
of 20 (70 percent) CPS Investigators met the designated caps. DeKalb had many case managers
that did not meet the caseload caps. Of the 62 CPS, family preservation, permanency, and
specialized case managers that were active on December 31, 2021, only 35 (56 percent) met the
specified caps. Only 6 out of 16 (38 percent) Permanency Case Managers and 3 out of 17 (18
percent) Specialized Case Managers met the designated caps.

During Period 33, there were 31 new hires, 10 re-hires and 56 losses (51 resignations) in
DeKalb, while in Fulton there were 25 hires, 7 re-hires, and 76 losses (49 resignations and 23
dismissals) for the same period. Until the counties can hire more staff than they lose to
terminations and resignations, there will not be enough staff to meet caseload requirements.

One strategy that the state began testing during Period 33 was a redesign of the required state
training for new staff. The current state training for new case managers is approximately seven
weeks. Training staff assisted in developing a pilot training for RegionRegion 14 to implement a
provisional certification program for new SS staff. The first cohort of staff began the program
mid-June 2022. Training and Professional Development Unit management provided on-site
support for this pilot training process. Following the expedited training that will take
approximately four weeks, new staff are assigned coaches to assist as they begin taking cases.
While it is too soon to determine the effectiveness of the new training program, MTAT highly
recommends that county leaders and state training leaders work closely together to provide
feedback and input to continue tweaking and improving the curriculum.

The continued erosion of the workforce is very concerning and should be addressed immediately
so services for children and families are not negatively impacted.

Supervisors
As of June 30, 2022, Dekalb continued to show a decline in the number of supervisors
overseeing CPS investigations, family preservation, permanency, and specialized case managers
for children in foster care that were assigned five or fewer case managers. Only 35 supervisors
out of 62 (56 percent) met the required ratio, while Fulton had 41 supervisors out of 57 (72
percent) meet the ratio. For Period 31, all supervisors in Region 14 met the 1 to 5 ratio.




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CPS Case Managers
For CPS case managers, 78 percent (32 of 41) were assigned 12 or fewer families to respond to
or investigate reports of maltreatment as of June 30, 2022. An additional 40 cases were assigned
to case managers on leave or supervisors awaiting assignment, which is an increase compared to
23 cases during Period 32.


Family Preservation Case Managers
Family preservation case managers generally were assigned 17 or fewer families to be able to
provide services and help ensure child safety. The same was true on June 30, 2022. All 21 of
these case managers met the standard.

Permanency Case Managers
On June 30, 2020, only 59 percent (16 out of 27) of permanency case managers were meeting
caseload expectations. This is the same as performance in Period 32 (59 percent).

Case Managers with Children Assigned to Them Who Have Been in Foster Care
for 18 Months or Longer
Previously known as specialized case managers, case managers assigned to children in foster
care for 18 months or longer are to be assigned no more than 12 children at any given time.
Many of these children require extra support to achieve permanency. During Period 33, only 26
percent (8 of 31) of these case managers met caseload expectations on June 30, 2022. This is a
significant decrease from the performance (69 percent) for Period 32.

DeKalb County on June 30, 2022
The caseloads for 44 percent of the case managers in DeKalb County on June 30, 2022, exceeded
the caseload cap. This is a slight increase to their Period performance in which 42 percent had
caseloads exceeding the requirements. It should be noted that all family preservation case
managers were assigned caseloads that met agreed-upon standards. In addition, only 6 out of the
16 (38 percent) Permanency Case Managers and 3 out of 17 (18 percent) specialized case
managers met the caseload requirement. See Appendix A, Table A-3 and Table A-4 for more
information.

Fulton County on June 30, 2022
For Fulton County, 28 percent of case managers exceeded caseload expectations, which was an
increase to their performance in Period 32 when only 11 percent exceeded the requirement. It
should also be noted that all family preservation case managers met the caseload requirements
during period 33. Additionally, 10 out of 11 (91 percent) of permanency case managers, and 5
out of 14 (36 percent) specialized case managers met the caseload requirements during Period
33. See Appendix A, Table A-5 and Table A-6 for more information.



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                               V         PLACEMENT STANDARDS
The quality placement and caregiving standards include specific DFCS commitments to ensure
every child in foster care will have a stable, nurturing placement in accordance with the
principles outlined in the Modified Consent Decree and Exit Plan § III. These standards address
the specific tasks so family ties are maintained and nurtured, children are able to remain with
parents and relatives as often as possible, and the screening, training, approval, and support
process for all caregivers are operating well. The Second and Fourth Brief on the Infrastructure
Standards included an analysis of these standards.

This section of the report provides an update on agreed-upon placement standards in the
Modified Consent Decree and Exit Plan § IV.

Discriminatory Placement Practices
Section IV.B.3 of the Modified Consent Decree and Exit Plan prohibits discriminatory placement
practices. 20 MTAT continues working with the state office to evaluate its array of placement
            10F




providers. While the focus is on outcomes, the state continues exploring the willingness of
providers to accept all children within their stated scope of expertise, regardless of race,
ethnicity, religion, sexual orientation, or gender identity.

During Period 33, the state experienced continued challenges ensuring that youth who self-
identify as members of the LGBTQIA community are in affirming placements. While some
providers expressed concern regarding cottage assignments based on gender identification, the
state also needs to provide more guidance for providers providing placement for trans youth.

Reimbursement Rates
A memorandum was sent July 15, 2022 to all Room, Board and Watchful Oversight (RBWO)
placement providers indicating thatin FY23, reimbursement rates for foster care will increase by
10 percent across all program types and designations, with additional supplements being added
for those identified with special needs.. The table below reflects the new rate structure:




20 Specifically, this section states: “Race and/or ethnicity and/or religion shall not be the basis for a delay or denial in

the placement of a child, either with regard to matching the child with a foster or adoptive family or with regard to
placing a child in a group facility. DHS shall not contract with any program or private agency that gives preference in
its placement practices by race, ethnicity, or religion…” Moreover, the Principles outlined in the Exit Plan include: “All
children in need of child welfare services should receive; full and equal access to the best available services,
regardless of race, religion, ethnicity, disabilities, sexual orientation, or gender identity.”


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Table 5: FY23 Rate Schedule

                 Payment      Payment to        Payment to         Payment to
                                                                                    Rate Description
                to Agency     FP Ages 0-5      FP Ages 6-12        FP Ages 13+
                  $34.21         $27.80           $29.99             $32.62       Age Based FP Rate
  Base WO                        $21.38           $19.48             $17.18       FP Rate Supplement
                                 $83.39           $83.68             $84.01       TOTAL RATE

                  $47.23         $27.80            $29.99             $32.62      Age Based FP Rate
  Max WO                         $35.40            $33.50             $31.20      FP Rate Supplement
                                $110.43           $110.72            $111.05      TOTAL RATE

                  $53.05         $27.80            $29.99             $32.62      Age Based FP Rate
  Specialty
                                 $30.40            $28.50             $26.20      FP Rate Supplement
  Base WO
                                $111.25           $111.54            $111.87      TOTAL RATE

                  $81.33         $27.80           $29.99             $32.62       Age Based FP Rate
  Specialty                      $40.40           $38.50             $36.20       FP Rate Supplement
  Max WO
                                $149.53           $149.82            $150.15      TOTAL RATE

                  $95.48         $27.80            $29.99             $32.62      Age Based FP Rate
  Specialty
                                 $67.40            $65.50             $63.20      FP Rate Supplement
   MFWO
                                $190.68           $190.97            $191.30      TOTAL RATE


In addition, for children without placements (those children currently staying in offices or
hotels), the state has offered providers a higher rate of per diem and a $5,000 grant to cover
services needed to address each youth’s high complex needs at the end of the Period.

The major findings regarding the placement standards during Period 33 are presented below.

Major Findings – Placement Standards

1. Toward the end of Period 33, the Region stopped using its administrative
   offices to house youth without placements. However, the use of hotels is
   now increasing.
The Modified Consent Decree states, “no child shall spend more than 23 hours in a county DFCS
office. Any child who spends time in a county DFCS office between the hours of 8:00 p.m. and
8:00 a.m. shall be reported to the MTAT. The intent of this provision is to prevent the use of
DFCS offices as an overnight placement for children, as children with urgent placement needs
require a safe bed in a home-like environment.”




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As discussed above, the use of DFCS offices for temporary placements for youth in Region 14
hit crisis levels during Period 33. During an emergency meeting in May 2022, MTAT discussed
concerns with state leaders, and Commissioner Broce pledged to end office stays in Region 14.
As the state transitioned from office stays, the parties acknowledged that limited use of hotels
may be needed until long-term sustainable systemic solutions could be implemented. Initially,
the counties’ reliance on hotels was limited. However, the number of youth and the length of
stays have fluctuated but appear to both be increasing, with significant more hotel utilization
occurring in Fulton compared to DeKalb. Between May and October 2022, DeKalb County
placed 14 youth in hotels for a total of 134 days, compared to 49 youth placed in hotels by Fulton
County for a total of 733 days.

       Chart 9: Daily Number of Children in Hotels in Region 14 Through 10/31/2022

                                               Daily Count of Children in Hotels
                                     14

                                     12
                Number of Children




                                     10

                                     8

                                     6

                                     4

                                     2

                                     0
                                      May-22   June-22        July-22     August-22    September-22   October-22


The number of children staying in hotels on any given day peaked in June with a high of 12, then
slowly decreased, coinciding with the $5,000 grants to agencies and enhanced rates, down to
zero at the end of July. Since August 2022, the number of children in hotels has slowly been
increasing and by the end of October 2022, there were eight children staying in a hotel. Looking
at hotel stays by the length of stay, increases can also be observed overtime. The chart below
shows the length of each hotel stay by the day of entry into hotels.




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       Chart 10: Length of Stay of Hotel Placements Over Time

                                              90
                                              80

                Length of Hotel Stay (days)
                                              70
                                              60
                                              50
                                              40
                                              30
                                              20
                                              10
                                              0




                                                                         Day Stay Began


The forecast line shows while there have been great variety in the length of stays from 1 or 2
days to a high of 80 days, over the five month period since hotel stays resumed, the length of
stays has steadily increased. This warrants further examination in the coming months, should this
trend continue to increase. For the 63 youth placed between May and October 2022, the
following chart illustrates their placements after hoteling:

                                                   Table 6: Destinations of Children After Hoteling

                                                                   Exit Type           #
                                                                      CCI              30
                                                                   Runaway             8
                                                                    CPA FH             7
                                                                   DFCS FH             5
                                                                  Fictive Kin          4
                                                                Back to Parents        3
                                                               Back to Guardian        2
                                                                    Relative           2
                                                                   Aged Out            1
                                                                     RYDC              1


An overwhelming number of children (30 of 63 exits, 44.1%) exited hotels into CCIs. If the state
continues moving away from the use of congregate care for all children and youth, other options
must be explored or created for youth with high complex needs. MTAT highly recommends that
the state continue pursuing the creation of therapeutic foster care.




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2. The state continues to ensure young children are not placed in congregate
   care placements unless necessary for the child’s welfare.
The Consent Decree has several restrictions related to the use of group care, including limiting
the use of congregate care for young children. The reported information is for all children under
the age of 12 in care between January 1 and June 30, 2022.

According to verified state reports, no children under the age of 12 entering foster care or already
in care during the period were placed in group homes or child-caring institutions except as
allowed under the Modified Exit Plan. Of youth under the age of 12 who entered foster care
during Period 33, 16 were placed in hospitals to meet their physical health needs,17 were
hospitalized for mental health issues, seven were placed in receiving homes, and one was an
infant with a teen mom.

3. The overwhelming number of children are not remaining in temporary
   facilities longer than 30 days and the Region continues to place fewer
   children in more than one temporary facility while in foster care.
The Modified Consent Decree states:
      • No child shall be placed in a temporary facility, or any other foster home or group
          facility beds used on any temporary basis, for more than 30 days: and
      • Children shall not be placed in more than one temporary facility within one episode
          of foster care (meaning the period of time that a child is in foster care from the date of
          removal from the home until the child is discharged from DFCS custody, except that
          a runaway does not trigger a new episode of foster care).

During Period 33, out of the 1,133 children in foster care at the beginning of the period or entered
during the period, nine children were placed in a temporary facility or any other foster home or
group facility beds used on a temporary basis for more than 30 days. This is a decrease from Period
32, during which there were 12 children in a temporary facility.

In addition, the state continues striving to reduce the number of children experiencing two or
more temporary placements. During Period 33, seven of 229 (3 percent) children were placed in
two or more temporary facilities within one episode of foster care. There were only 20 out of
3,538 (6 percent) in Period 32.




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                     APPENDIX A – METRICS UNDER THE MODIFIED EXIT PLAN
This Appendix contains two tables summarizing the metrics under the Modified Exit Plan and the methods for generating each of
them.

Table A-1 is a Measures Grid that identifies each measurable outcome, practice standard, or performance measure required under the
Modified Ext Plan and describes the method for producing that metric.

Table A-2 is a technical document, Detailed Outcome Measures Period 33, that provides the numerator and denominator for each
metric displayed in Tables 4 and 5 above and includes additional explanation or data that support the interpretation of the outcome
metric under the Modified Consent Decree and Exit Plan. It also contains additional technical explanations and historical data that
provide context for reviewing and interpreting Period 33 performance data.

Tables A-3 through A-8 provide caseload data as reported from the state.




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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                              Numerator                    Denominator                   Metric
           At least 95% of all investigations of reports of abuse or neglect of foster          DeKalb: 19                   DeKalb: 23                    DeKalb: 82.6%
           children shall be commenced, including timely face-to-face private contact with      Fulton: 14                   Fulton: 14                    Fulton: 100%
 VI.A.1    the alleged victim, in accordance with Section 2106 of the Social Services
                                                                                                Perimeter: 41                Perimeter: 42                 Perimeter: 97.6%
           Manual, within 24 hours of receipt of the report.
                                                                                                Total: 74                    Total: 79                     Total: 93.7%
           At least 95% of all investigations of reported abuse or neglect of foster children   DeKalb: 23                   DeKalb: 23                    DeKalb: 100%
           shall be completed, in accordance with Section 2106 of the Social Services           Fulton: 14                   Fulton: 14                    Fulton: 100%
 VI.A.2    Manual, within 45 days of receipt of the report.
                                                                                                Perimeter: 42                Perimeter: 42                 Perimeter: 100%
                                                                                                Total: 79                    Total: 79                     Total: 100%
           Re-entry into Care: Of all children who enter foster care in a 12-month period       DeKalb: 6                    DeKalb: 85                    DeKalb: 7.1%
 VI.A.3    who were discharged within 12 months from foster care to reunification               Fulton: 7                    Fulton: 67                    Fulton: 10.4%
           (including aftercare), living with a relative, or guardianship no more than 8.3%
                                                                                                Total: 13                    Total: 152                    Total: 8.6%
           shall have re-entered care within 12 months from the date of discharge.
           Maltreatment in care: Of all children in foster care during the reporting period,   DeKalb: 1                     DeKalb: 103735                DeKalb: 0.96
           the rate of victimization shall be no more than 8.50 victims per 100,000 days.      Fulton: 5                     Fulton: 60084                 Fulton: 8.32
 VI.A.4                                                                                        Total: 6                      Total: 163819                 Total: 3.66
           This a new measure which relies on the CFSR 3 methodology. That methodology controls for “exposure time” for the risk of maltreatment by calculating the
           total number of days that children with a least one day of care in the period experienced. It also counts any substantiated investigation associated with a child
           in care, regardless of who was the perpetrator of the maltreatment.
           Search for Relatives: At least 95% of all foster children entering care shall       DeKalb: 27                    DeKalb: 30                    DeKalb: 90%
 VI.A.5    have had a diligent search for parents and relatives undertaken and                 Fulton: 30                    Fulton: 30                    Fulton: 100%
           documented within 60 days of entering foster care.
                                                                                               Total: 57                     Total: 60                     Total: 95%
           Permanency: At least 43.6% of all children in foster care on the first day of a     DeKalb: 34                   DeKalb: 163                    DeKalb: 20.9%
           12-month period who had been in foster care (in that episode) between 12 and Fulton: 12                          Fulton: 66                     Fulton: 18.2%
 VI.A.6    23 months shall be discharged from foster care to permanency within 12
                                                                                               Total: 46                    Total: 229                     Total: 20.1%
           months of the first day of the period. Permanency, for the purposes of this
           measure includes discharges from foster care to reunification with the child’s
           parents or primary caregiver, living with a relative, guardianship, or adoption.
 VI.A.7    Permanency: At least 30.3% of all children in foster care on the first day of a     DeKalb: 61                   DeKalb: 268                    DeKalb: 22.8%
           12-month period who had been in foster care (in that episode) for 24 months         Fulton: 13                   Fulton: 157                    Fulton: 8.3%
           or more shall be discharged to permanency within 12 months of the first day of
                                                                                               Total: 74                    Total: 425                     Total: 17.4%
           the period. Permanency, for the purposes of this measure includes discharges




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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                             Numerator                 Denominator     Metric
           from foster care to reunification with the child’s parents or primary caregiver,
           living with a relative, guardianship, or adoption.
 VI.A.8    Adoption/Guardianship Finalization: For all children whose parental rights are      DeKalb: 23                 DeKalb: 27     DeKalb: 85%
           terminated or released during the reporting period (and any appeals                 Fulton: 11                 Fulton: 18     Fulton: 61%
           completed), at least 80% will have their adoptions or guardianships finalized
                                                                                               Total: 34                  Total: 45      Total: 76%
           within 12 months of final termination or release of parental rights.
           *During this reporting period, two (2) DeKalb cases were on track to finalize timely but were delayed due to COVID
 VI.A.9    Permanency Efforts (15/22): At least 95% of all foster children who reached         DeKalb: 357              DeKalb: 378      DeKalb: 94%
           the point of being in custody for 15 of the prior 22 months shall have had either   Fulton: 219              Fulton: 222      Fulton: 99%
           (a) a petition for the termination of parental rights filed as to both parents or
                                                                                               Total: 576               Total: 600       Total: 96%
           legal caregivers as applicable, or (b) documented compelling reasons in the
           child’s case record why termination of parental rights should not be filed.
 VI.A.10   Sibling placement: At least 80% of all children who entered foster care during      DeKalb: 43               DeKalb: 43       DeKalb: 100%
           the reporting period along with one or more siblings shall be placed with all of    Fulton: 18               Fulton: 18       Fulton: 100%
           their siblings, subject to the following exceptions:
                                                                                               Total: 61                Total: 61        Total: 100%
           (a) doing so is harmful to one or more of the siblings, (b) one or more of the
           siblings has exceptional needs that can only be met in a specialized program
           or facility, (c) the size of the sibling group makes such placement impractical
           notwithstanding diligent efforts to place the group together; or (d) the siblings
           are placed with relative.
 VI.A.11   Multiple Placement Moves: The rate of placement moves in foster care shall          DeKalb: 229              DeKalb: 100688   DeKalb: 2.27
           be no more than 3.67 moves per 1,000 days in foster care.                           Fulton: 216              Fulton: 56651    Fulton: 3.81
                                                                                               Total: 445               Total: 157339    Total: 2.83
 VI.A.12   Caseworker Continuity: At least 90% of all children in custody at a point in time   DeKalb: 334              DeKalb: 550      DeKalb: 61%
           during the reporting period shall have had 2 or fewer DFCS placement case           Fulton: 251              Fulton: 354      Fulton: 71%
           managers during the prior 12 months in custody. This measure shall not apply
                                                                                               Total: 585               Total: 904       Total: 65%
           to cases that are transferred to an adoption case manager; case managers
           who have died, been terminated, promoted, or transferred to another county;
           or case managers who have covered a case during another case manager’s
           sick or maternity leave.
 VI.A.13   Visitation (Worker-Child): At least 96.25% of the total minimum number of one       DeKalb: 4785             DeKalb: 4892     DeKalb: 97.81%
           in-placement visit per month and one additional private visit per month             Fulton: 2743             Fulton: 2818     Fulton: 97.35%
           between case managers and children during the reporting period shall have
                                                                                               Total: 7528              Total: 7710      Total: 97.64%



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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                               Numerator                Denominator    Metric
           taken place. Visits in excess of this required minimum of one in-placement and
           one private visit per month shall be excluded when calculating this percentage.
 VI.A.14   Visitation (Parent-Child): At least 85% of the children with a goal of                DeKalb: 1314             DeKalb: 1535   DeKalb: 85.6%
           reunification shall have had appropriate visitation with their parents to progress    Fulton:612               Fulton: 708    Fulton: 86.4%
           toward reunification.
                                                                                                 Total: 1926              Total: 2243    Total: 85.9%
 VI.A.15   Visitation (Worker-Caregiver): DFCS placement case managers shall visit               DeKalb: 3145             DeKalb: 3301   DeKalb: 95.3%
           each child’s foster parent, group care setting, or other caregiver setting at least   Fulton: 1804             Fulton: 1862   Fulton: 96.9%
           one time each month. At least 95% of the total minimum number of required
                                                                                                 Total: 4949              Total: 5163    Total: 95.9%
           monthly visits by placement case managers to caregivers during the reporting
           period shall have taken place. Visits to any caregiver with respect to the same
           child in excess of the required one visit per month shall be excluded when
           calculating this percentage.
 VI.A.16   Visitation (Between Siblings): Children who have one or more siblings in              DeKalb: 510              DeKalb: 535    DeKalb: 95.3%
           custody with whom they are not placed shall be provided a visit with their            Fulton: 232              Fulton: 240    Fulton: 96.7%
           siblings at least one time each month, unless the visit is harmful to one or
                                                                                                 Total: 742               Total: 775     Total: 95.7%
           more of the siblings, the sibling is placed out of state in compliance with ICPC,
           or the distance between the children’s placements is more than 50 miles and
           the child is placed with a relative. At least 90% of the total minimum number of
           required monthly sibling group visits shall have taken place during the
           reporting period. Visits among siblings in excess of the required one visit per
           month shall be excluded when calculating this percentage.
 VI.A.17   Education: At least 56% of children discharged from foster care at age 18 or
           older shall have graduated from high school or earned a GED.
           This metric is generated annually in the report covering the period that ends December 31 of each year.
 VI.A.18   Placements Not in Full Approval Status: At least 98% of all foster placements         Total: 2568              Total: 2631    Total: 97.6%
           serving class member children shall be in full approval and/or licensure status.
           In computing this percentage, each placement shall be weighted by the
           approved and/or licensed capacity of that placement.




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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                          Numerator             Denominator   Metric
 VI.A.19   Six-Month Case Plan Review: At least 95% of foster children in custody for six   DeKalb:44             DeKalb: 44    DeKalb: 100%
           months or more shall have either had their six-month case plan review            Fulton: 26            Fulton: 26    Fulton: 100%
           completed by the Juvenile Court within six months of their prior case plan
                                                                                            Total: 70             Total: 70     Total: 100%
           review, or DFCS shall have submitted the child’s six-month case plan to the
           Juvenile Court and filed a motion requesting a six-month case plan review
           within 45 days of the expiration of the six-month period following the last
           review.
 VI.A.20   Permanency Hearing: At least 95% of foster children in custody for twelve or     DeKalb: 34            DeKalb: 24    DeKalb: 100%
           more months shall have either had a permanency hearing held by the Juvenile      Fulton: 34            Fulton: 24    Fulton: 100%
           Court within 12 months of the time the child entered foster care or had his or
                                                                                            Total: 68             Total: 68     Total: 100%
           her last permanency hearing, or DFCS shall have submitted the documents
           required by the Juvenile Court for and requested a permanency hearing within
           45 days of the expiration of the 12-month period following the time the child
           entered foster care or had his or her last permanency hearing.
 VI.A.21   Health/Educational Needs. Of children in care at a point in time at end of       See Below
           reporting period, 92% shall have met each need documented in most recent
           plan: Medical, Dental, Mental Health, Educational.
                                                                        Medical Needs       DeKalb: 3             DeKalb: 7     DeKalb: 43%
                                                                                            Fulton: 4             Fulton: 5     Fulton: 80%
                                                                                            Total: 7              Total: 12     Total: 58%
                                                                    Dental Needs            DeKalb: 5             DeKalb: 5     DeKalb: 100%
                                                                                            Fulton: 3             Fulton: 5     Fulton: 60%
                                                                                            Total: 8              Total: 10     Total: 80%
                                                                    Mental Health           DeKalb: 2             DeKalb: 4     DeKalb: 50%
                                                                    Needs                   Fulton: 0             Fulton: 3     Fulton: 0%
                                                                                            Total: 2              Total: 7      Total: 29%
                                                                    Education/Develop-      DeKalb: 3             DeKalb: 3     DeKalb: 100%
                                                                    mental Needs            Fulton: 1             Fulton: 2     Fulton: 50%
                                                                                            Total: 4              Total: 5      Total: 80%




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 Table A-2: Detailed Outcome Measures for Period 33
             Outcome                                                                              Numerator                  Denominator                  Metric
 VI.B.2221   Corporal Punishment: At least 98% of all foster homes will not have an
             incident of corporal punishment (any physical punishment of a child that inflicts    Total: 82                 Total: 82                     Total: 100%
             pain) within the previous 12 months.
 VI.B.23     Timely Discharge to Permanency: Of all children who enter foster care in a 12-       DeKalb: 36                DeKalb: 176                   DeKalb: 20.5%
             month period, at least 40.5% shall be discharged to permanency within 12             Fulton: 55                Fulton: 138                   Fulton: 39.9%
             months of entering foster care. Permanency, for the purposes of this measure,
                                                                                                  Total: 91                 Total: 314                    Total: 29.0%
             includes reunification with the child’s parents or primary caregivers, living with
             a relative, guardianship, or adoption.
 VI.B.24     Adoption Disruptions: No more than 5% of adoptions finalized during the              DeKalb: 0                 DeKalb: 54                    DeKalb: 0%
             reporting period shall disrupt within the 12 months subsequent to the reporting      Fulton: 0                 Fulton: 23                    Fulton: 0%
             period.
                                                                                                  Total: 0                  Total: 77                     Total: 0%
             Placement Within County: At least 90% of all children at a point in time during
             the reporting period shall be placed in the county from which they were
             removed or within a 50-mile radius of the home from which they were
             removed. This measure is subject to the following exceptions: (a) the child’s
             needs are so exceptional that they cannot be met by a family or facility
                                                                                                 Total: 866                      Total: 904                Total: 96%
             meeting these geographical restrictions, (b) the child is placed through the
             ICPC consistent with its terms, (c) the child is appropriately placed with
             relatives, or (d) the child is in an adoptive placement with a prospective
             adoptive family pursuant to an appropriate placement agreement, but before
             the entry of the adoption decree by the court.
 VI.B.25     As noted above, the methodology for this metric changed. Rather than being evaluated through case review, the Data Unit generated a metric using the entire
             class of children in placement on the last day of the period. To generate the final metric – they considered who in placement on 6/30/2022 was placed in the
             w/in 50 miles of their removal address, was placed within the same county as their removal county or qualified for an exception as stipulated in the agreement.
             The numerator was adjusted upward to reflected both those that met the standard AND those who were exceptions. The reciprocal of the numerator is the
             measure. See below for the adjustments.
                                                                                       Placed Denominator                      Numerator                   %
             Total in Placement on 06/30/2022                                         985         985                       926                           94%
                                                                                                  % of those placed
             Placed in Same County                                                    268         27%


21 VI.B metrics are currently Attained Outcomes.




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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                             Numerator             Denominator    Metric
           Placed in Different County                                              717         73%
           Different county and exception placement                                229         23%
           Different county                                                        488         50%
           Different county and placed w/in 50 miles                               429         44%
           Different county and place greater than 50 miles                        59          6%                    0
           Different county, > than 50 miles and exempt                            0           0%
           Different county, > than 50 miles and NOT exempt                        59          6%                    59
 VI.B.26   Visitation (Worker-Child): At least 96.25% of the total minimum number of           DeKalb: 2983          DeKalb: 3047   DeKalb: 97.9%
           monthly private, in-placement visits between case managers and children             Fulton: 1680          Fulton: 1719   Fulton: 97.7%
           during the reporting period shall have taken place. Visits in excess of the
                                                                                               Total: 4663           Total: 4766    Total: 97.8%
           required one private visit per month shall be excluded when calculating this
           percentage.
 VI.B.27   Court Orders: At least 95% of foster children in custody at a point in time         DeKalb: 31            DeKalb: 56     DeKalb: 55%
           during the reporting period shall have all applicable language in court orders      Fulton: 34            Fulton: 36     Fulton: 94%
           necessary to assess qualification for federal funding under Title IV-E of the
                                                                                               Total: 65             Total:92       Total: 71%
           Social Security Act.
 VI.B.28   Capacity Limits: No more than 10% of all foster home placements serving
           class member children at any time during the reporting period shall exceed the
           following capacity limits: a) no placement shall result in more than three foster
           children in a foster home, or a total of 6 children in the home, including the
           foster family’s biological and/or adopted children, without the written approval
                                                                                               Total: 2              Total: 341     Total: 0.6%
           of the County Director, and b) no placement will result in more than three
           children under the age of three in a foster home. The only exception to these
           capacity limits shall be the placement of a sibling group in a foster.
 VII.G.1   Recurrence of substantiated investigations: Of children in each county during       DeKalb: 4             DeKalb: 427    DeKalb: 0.9%
           prior two reporting periods who experienced substantiated maltreatment, the         Fulton: 9             Fulton: 379    Fulton: 2.29%
           number who were victims of a second substantiated maltreatment report
                                                                                               Total: 13             Total: 806     Total: 1.56%
           during the following 12 months.




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 Table A-2: Detailed Outcome Measures for Period 33
           Outcome                                                                           Numerator             Denominator    Metric
           Substantiated investigation following FSS case. Of cases that were referred to    DeKalb: 26            DeKalb: 1227   DeKalb: 2.1%
 VII.G.2   FSS, the number and percent for which there was a subsequent substantiated        Fulton: 57            Fulton: 1979   Fulton: 2.9%
           referral w/in 11-365 days of the FSS referral. For Period 25 – partial data are
                                                                                             Total: 83             Total: 3206    Total: 2.6%
           provided.




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 Table A-3: Case Managers Meeting Caseload Standards in DeKalb County on June 30, 2022
                                                                              Actual
                             Caseload                                         Performance
                             Cap:
                             Number of                       Number of
 Case Manager                                 Number of                                                                                 Cases to be
                             Cases                           Active, On-      Meeting Caps on Assigned             Not Meeting Cap on
 Function                                     Active                                                                                    Assigned by
                             (Families                       leave Staff      Caseload                             Assigned Caseload
                                              Staff on                                                                                  Supervisors
                             and                             on
                             Children)        06/30/2022
                                                             06/30/2022
                                                                              Number                 %             Number         %     Number
 CPS Investigations          12 families      21             0                18                     86%           3              14%   21
 Family Preservation         17 families      8              0                8                      100%          0              0%    2
 Permanency Case
 Manager                     15 children      16             0                6                      38%           10             62%   37
 Specialized Case
 Manager                     12 children      17             0                3                      18%           14             82%   40
 Adoption Case
 Manager22                   16 children      0              0                0                      0             0              0     0
 Total                       12 children      62             0                35                     56%           27             44%   100
 All Adoptions caseloads are included in the other totals. There are 7 Adoptions case managers.



 Table A-4: DeKalb County Supervisory Ratios on June 30, 2022
                                                    Number of      Meeting 1 to 5 Ratio
 Program/Service Area                               Units                                         Not Meeting 1 to 5 Ratio
                                                    Total          Number          Percent        Number           Percent

 Child Protective Services (Investigations and
 Family Preservation)                                   29             26            90%                 3         10%

 Permanency Case Managers (Regular and
                                                        33              9            27%              24           73%
 Specialized) (includes Adoptions)



22 All adoptions caseloads are included in the specialized and permanency totals. There were 12 adoptions case managers in DeKalb on this date.




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 Table A-5: Case Managers Meeting Caseload Standards in Fulton County on June 30, 2022

                             Caseload                                         Actual
                             Cap:                                             Performance
                             Number of                                                                                         Cases to be
 Case Manager                                 Number of      Number of        Meeting Caps on Assigned    Not Meeting Cap on
                             Cases                                                                                             Assigned by
 Function                                     Active         Active, On-      Caseload                    Assigned Caseload
                             (Families                                                                                         Supervisors
                             and              Staff on       leave Staff
                             Children)        6/30/22        on 6/30/22       Number           %          Number     %         Number
 CPS Investigations          12 families      12 families    20               0                14         70%        6         30%
 Family Preservation         17 families      17 families    13               0                13         100%       0         0%
 Permanency Case
 Manager                     15 children      15 children    11               0                10         91%        1         9%
 Specialized Case
 Manager                     12 children      12 children    14               0                5          36%        9         64%
 Adoption Case
 Manager                     16 children      16 children    0                0                0          0          0         0
 Total                       12 children      12 children    58               0                42         72%        16        28%
All Adoptions caseloads are included in other totals. There are 6 Adoptions case managers



 Table A-6: Fulton County Supervisory Ratios on June 30, 2022

                                                    Number of                               Not Meeting 1 to 5
                                                    Units          Meeting 1 to 5 Ratio     Ratio
 Program/Service Area
                                                    Total          Number         Percent   Number       Percent

 Child Protective Services (Investigations and
 Family Preservation)                                   33             27           82%         6          18%
 Permanency Case Managers (Regular and
                                                        24             14           58%        10          42%
 Specialized) (includes Adoptions)




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 Table A-7: Region 14 Caseload Managers Meeting Caseload Standards on June 30, 2022
                      Caseload
                      Cap:
                      Number
 Case Manager
                      of Cases                                          Actual Performance
 Function
                      (Families
                      and
                      Children)
                                                                        Numbe
                                                                        r of                                                            Cases to be
                                                                                  Meeting Caps on Assigned         Not Meeting Cap on
                                                                        Active,                                                         Assigned by
                                                                                  Caseload                         Assigned Caseload
                                              Number of Active Staff    On-                                                             Supervisors
                                              on 6/30/22                leave
                                                                        Staff
                                                                        on        Number               %           Number     %         Number
                                                                        6/30/22
 CPS Investigations   12 families   41                  0               32                             78%         9          22%       40
 Family
 Preservation         17 families   21                  0               21                             100%        0          0%        15
 Permanency Case      15
 Manager              children      27                  0               16                             59%         11         41%       55
 Specialized Case     12
 Manager              children      31                  0               8                              26%         23         74%       54
 Adoption Case        16
 Manager23            children      0                   0               0                              0           0          0         0
                      12
 Total                children      120                 0               77                             64%         43         36%       164
All adoptions caseloads are included in the other totals: there are 13 adoptions case managers




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 Table A-8: Region 14 Supervisory Ratios on June 30, 2022
                                                 Number of   Meeting 1 to 5 Ratio    Not Meeting 1 to 5
                                                 Units                               Ratio
 Program/Service Area
                                                 Total       Number        Percent   Number      Percent

 Child Protective Services (Investigations and
 Family Preservation)                               62          53           85%         9          15%

 Permanency Case Managers (Regular and
                                                    57          23           40%        34          60%
 Specialized) (includes Adoptions)




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                            APPENDIX B – GLOSSARY
Adoptive Placement means the interval during which a child is placed with a prospective
adoptive family following the signing of the appropriate adoptive placement agreement form, but
before the entry of the adoption decree by the court.

Child or Children or Class Member Children or Class Members mean a child or children
who have been, are or will be alleged or adjudicated deprived who 1) are or will be in the
custody of the State Defendants; and 2) have or will have an open case in Fulton County DFCS
or DeKalb County DFCS.

Child Caring Institution (CCI) is any child-welfare facility which provides full-time room,
board, and watchful oversight (RBWO) to six or more children up to 18 years of age. Some CCIs
are approved to care for youth up to age 21. The CCI must be approved through the Office of
Provider Management (OPM) to serve children in DFCS custody.

Child Placing Agency (CPA) is agency that places children in foster and adoptive homes for
individualized care, supervision, and oversight. Child placing agencies are responsible for
assessing the placement regarding the appropriateness of the room, board, and watchful oversight
that the prospective foster and adoptive families will provide. The CPA’s employees and their
foster and adoptive parents work as a team to provide a stabilizing and nurturing environment
that promotes safety, permanency, and well-being.

Corporal Punishment means any physical punishment on a child that inflicts pain.

CPA Foster Home is a foster home approved by a Child Placing Agency for the temporary
placement of children in foster care.

DeKalb DFCS means DeKalb County Department of Family and Children Services.

DFCS when used alone means the Georgia Division of Family and Children Services.

DFCS Foster Home is a non-relative foster homes approved by DFCS for the temporary
placement of children in foster care.

DFCS or CPA Adoptive Home is an adoptive home approved for the foster care placement of a
child for whom the established goal is adoption. Adoptive homes must meet the regular standards
of care required for approved family foster homes and any conditions specified in that approval.

DFCS Relative Foster Home is a relative foster home approved by DFCS for the temporary
placement of minor relatives. It is DFCS’ preference that all relatives are approved as foster
parents and receive a foster care per diem. The goal of relatives becoming foster parents is to
ensure that the child has services to address his or her needs.

DHHS means the United States Department of Health and Human Services.

DHR means Georgia Department of Human Resources.


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Discipline or Other Serious Foster Care Violation means and includes those acts or situations
by the caregiver that pose an immediate or potential risk to the safety or well-being of the child
in care. These may include, but are not limited to, inappropriate disciplinary measures (both
physical/corporal and emotional), violations of supervision or other safety requirements that pose
serious risk factors to the child.

EPSDT means the Early and Periodic Screening, Diagnosis, and Treatment Program for
individuals under 21 years of age contained in Title XIX of the Social Security Act, as amended.

Fictive Kin means a person who is known to a child as a relative, but is not, in fact, related by
blood.

Foster Parent means volunteers who are trained and certified by DFCS or Child Placing
Agencies to provide for the temporary care of children placed in the custody of DFCS. Foster
parents work as a part of a team to assure that a child’s physical, emotional, medical, and
psychological needs are met while they are in foster care. Although it is not the goal to replace
the child’s parents, foster parents are asked to assume the responsibility of parenting the children
placed in their home.

Foster Relative means biological kin who are trained and certified by DFCS to provide for the
care of relative children placed in the custody of DFCS. Foster relatives work as a part of a team
to assure that a child’s physical, emotional, medical, and psychological needs are met while they
are in foster care. Although it is not the goal to replace the child’s parents, foster relatives are
asked to assume the responsibility of parenting the children placed in their home.

Fulton DFCS means the Fulton County Department of Family and Children Services.

Georgia Health Check Program means Georgia Medicaid's well-child or preventive health care
program adopted pursuant to EPSDT and shall contain such components as they exist in the
Georgia Health Check Program as of February 1, 2005.

Governor means the Governor of the State of Georgia.

Legal Guardianship means the appointment of an individual as a legal guardian for a child as
authorized by either the probate court under O.C.G.A. Title 29 or the juvenile court under
O.C.G.A. Chapter15-11-2(36).

One Episode of Foster Care means the period of time that a child is in foster care from the date
of removal from the home until the child is discharged from DFCS custody, except that a
runaway does not trigger a new episode of foster care.

Permanent Legal Custody means custody granted in accordance with an order of the superior
court or the juvenile court, which places a child in the custody of an individual or individuals
until the child reaches 18 years of age.

Permanent Placement with Relatives means placing a child with a relative who is willing to
assume long-term responsibility for the child but has reasons for not adopting the child or
obtaining guardianship or permanent legal custody, and it is in the child's best interests to remain


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in the home of the relative rather than be considered for adoption, permanent legal custody, or
guardianship by another person. In such circumstances, there shall be in place an agreement for
long-term care signed by DFCS and the relative committing to the permanency and stability of
this placement unless it is necessary to disrupt the long-term placement.

Psychiatric Residential Treatment Facility (PRTF) is a temporary non-hospital facility with a
provider agreement with a State Medicaid Agency to provide intensive therapeutic intervention
to a child to ensure safety and stability. PRTFs offer intensive behavioral health services to
children in Georgia.

Relatives are persons who are related by blood, marriage or adoption including the spouse of any
of those persons even if the marriage was terminated by death or divorce.

Relative Placement refers to placement in the home of a relative or fictive kin who do not
receive a foster care per diem for the care of the child. The relative placement may be a non-paid
placement or the relative may receive TANF or an Enhanced Relative Rate (ERR) Subsidy.
Fictive kin are not eligible for TANF or an Enhanced Relative Rate (ERR) Subsidy. Fictive kin
must become foster parents to receive financial assistance.

Placement with relatives or fictive kin may occur very quickly if there is a satisfactory CPS
history check, safety and home assessment check, and a Georgia Crime Information Center
(GCIC) check through the Office of the Inspector General (OIG) on all household members 18
years of age or older. A Relative or Non-Relative Care Assessment must be completed no later
than 30 calendar days after the placement of a child.

State DFCS means the Division of Family and Children Services of the Georgia Department of
Human Resources.

Suspected Abuse or Neglect means being based on reasonable cause to believe that a child may
have been abused or neglected.

Suspected Corporal Punishment means being based on reasonable cause to believe that
corporal punishment may have been used on a child.




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